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                   Exhibit 1
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                         IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

  UMG RECORDINGS, INC., et al.,

          Plaintiffs,

  v.                                                  Case No. 8:19-cv-00710-MSS-TGW

  BRIGHT HOUSE NETWORKS, LLC

          Defendant.

  BRIGHT HOUSE NETWORKS, LLC,

          Counter-Plaintiff,

  v.

  UMG RECORDINGS, INC., et al.,

          Counter-Defendants, and

  RECORDING INDUSTRY ASSOCIATION OF
  AMERICA and MARKMONITOR, INC.,

          Counter-Defendants.



             SECOND AMENDED ANSWER, AFFIRMATIVE DEFENSES, AND
       COUNTERCLAIMS TO FIRST AMENDED COMPLAINT AND DEMAND FOR JURY
                      TRIAL; INJUNCTIVE RELIEF SOUGHT

           Defendant Bright House Networks, LLC (“Defendant” or “Bright House”)1 by and through

   its counsel, hereby answers and asserts its affirmative defenses to the First Amended Complaint



   1
     On or about January 1, 2020, Bright House Networks, LLC changed its name to Spectrum
   Sunshine State, LLC. It filed an amendment to its corporate registration in Florida showing the
   new name on or about January 2, 2020. To avoid confusion, for purposes of this litigation, which
   was commenced in 2019, Defendant will continue to be referred to as “Bright House Networks,
   LLC” or “Bright House.”

                                                  1
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   of Plaintiffs UMG Recordings, Inc., Capitol Records, LLC, Universal Music Corp., Universal

   Music – MGB NA LLC, Universal Music Publishing Inc., Universal Music Publishing AB,

   Universal Music Publishing Limited, Universal Music Publishing MGB Limited, Universal Music

   – Z Tunes LLC, Universal/MCA Music Limited, Universal/MCA Music Publishing Pty. Limited,

   Music Corporation of America, Inc., Musik Edition Discoton GmbH, Polygram Publishing, Inc.,

   Songs of Universal, Inc., Warner Records Inc. (f/k/a Warner Bros. Records Inc.), Atlantic

   Recording Corporation, Bad Boy Records LLC, Elektra Entertainment Group Inc., Fueled By

   Ramen LLC, Maverick Recording Company, Nonesuch Records Inc., Rhino Entertainment

   Company, The All Blacks U.S.A., Inc., Warner Music Inc., Warner Records/SIRE Ventures LLC,

   WEA International Inc., Warner Chappell Music, Inc. (f/k/a Warner/Chappell Music, Inc.),

   Warner-Tamerlane Publishing Corp., W Chappell Music Corp d/b/a WC Music Corp. (f/k/a WB

   Music Corp.), W.C.M. Music Corp (f/k/a W.B.M. Music Corp.), Unichapell Music Inc., Rightsong

   Music Inc., Cotillion Music, Inc., Intersong U.S.A., Inc., Chappell & Co. Inc., Sony Music

   Entertainment, Arista Music, Arista Records LLC, LaFace Records LLC, Provident Label Group,

   LLC, Sony Music Entertainment US Latin, The Century Family, Inc., Volcano Entertainment III,

   LLC, Zomba Recordings LLC, Sony/ATV Music Publishing LLC, EMI Al Gallico Music Corp.,

   EMI April Music Inc., EMI Blackwood Music Inc., Colgems-EMI Music Inc., EMI Consortium

   Music Publishing Inc. d/b/a EMI Full Keel Music, EMI Consortium Songs, Inc., individually and

   d/b/a EMI Longitude Music, EMI Entertainment World Inc. d/b/a EMI Foray Music, EMI Jemaxal

   Music Inc., EMI Feist Catalog Inc., EMI Miller Catalog Inc., EMI Mills Music, Inc., EMI U

   Catalog Inc., Famous Music LLC, Jobete Music Co. Inc., Stone Agate Music, Screen Gems-EMI

   Music Inc., and Stone Diamond Music Corp. (collectively, the “Plaintiffs”), dated January 6, 2020

   (the “First Amended Complaint”) as follows:



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                                          INTRODUCTION2

          1.      Plaintiffs are record companies that produce, manufacture, distribute, sell, and

   license commercial sound recordings, and music publishers that acquire, license, and otherwise

   exploit musical compositions, both in the United States and internationally. Through their

   enormous investments of money, time, and exceptional creative efforts, Plaintiffs and their

   representative recording artists and songwriters have developed and marketed some of the world’s

   most famous and popular music. Plaintiffs own and/or control exclusive rights to the copyrights to

   some of the most famous sound recordings performed by classic artists and contemporary

   superstars, as well as the copyrights to large catalogs of iconic musical compositions and modern

   hit songs. Their investments and creative efforts have shaped the musical landscape as we know

   it, both in the United States and around the world.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 1 of the First Amended Complaint and on that basis denies those

   allegations.

          2.      As one of the largest Internet service providers (“ISPs”) in the country, Bright

   House has marketed and sold high-speed Internet services to consumers nationwide. Through the

   provision of those services, Bright House has knowingly contributed to, and reaped substantial

   profits from, massive copyright infringement committed by thousands of its subscribers, causing

   great harm to Plaintiffs, their recording artists and songwriters, and others whose livelihoods

   depend upon the lawful acquisition of music. Bright House’s contribution to its subscribers’




   2
     For the Court’s convenience, Defendant has reproduced the headings from Plaintiffs’ First
   Amended Complaint. Defendant does not thereby concede, affirm, or otherwise adopt any of those
   headings.

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   infringement is both willful and extensive, and renders Bright House equally liable. Indeed, for

   years, Bright House deliberately refused to take reasonable measures to curb customers from using

   its Internet services to infringe on others’ copyrights, including Plaintiffs’ copyrights—even after

   Bright House became aware of particular customers engaging in specific, repeated acts of

   infringement. Plaintiffs’ representatives (as well as others) sent hundreds of thousands of statutory

   infringement notices to Bright House, under penalty of perjury. Those notices advised Bright

   House of its subscribers’ blatant and systematic use of Bright House’s Internet service to illegally

   download, copy, and distribute Plaintiffs’ copyrighted music through BitTorrent and other online

   file-sharing services. Rather than working with Plaintiffs to curb this massive infringement, Bright

   House did nothing, choosing to prioritize its own profits over its legal obligations.

          Answer:          Defendant admits that Bright House operates as an Internet service

   provider, and markets and sells high-speed Internet services to consumers. Defendant admits that

   it received notices of alleged infringement from third parties, but lacks knowledge or information

   as to whether and which of these notices were sent on behalf of which Plaintiffs, whether such

   notices complied with statutory requirements, and whether they were made under penalty of

   perjury, and on that basis, Bright House denies those allegations. Defendant denies the remaining

   allegations in Paragraph 2 of the First Amended Complaint.

          3.      It is well-established law that a party may not assist someone it knows is engaging

   in copyright infringement. Further, when a party has a direct financial interest in the infringing

   activity, and the right and practical ability to stop or limit it, that party must act. Ignoring and

   flouting those basic responsibilities, Bright House deliberately turned a blind eye to its subscribers’

   infringement. Bright House failed to terminate or otherwise take meaningful action against the

   accounts of repeat infringers of which it was aware. Despite its professed commitment to taking



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   action against repeat offenders, Bright House routinely thumbed its nose at Plaintiffs by continuing

   to provide service to subscribers it knew to be serially infringing copyrighted sound recordings

   and musical compositions. In reality, Bright House operated its service as an attractive tool and

   safe haven for infringement.

          Answer:          The first two sentences of Paragraph 3 of the First Amended Complaint

   constitute Plaintiffs’ characterization of copyright law and legal conclusions to which Defendant

   is not obligated to respond. Defendant denies the remaining allegations of Paragraph 3 of the First

   Amended Complaint.

          4.      Bright House has derived an obvious and direct financial benefit from its

   customers’ infringement. The unlimited ability to download and distribute Plaintiffs’ works

   through Bright House’s service has served as a draw for Bright House to attract, retain, and charge

   higher fees to subscribers. By failing to terminate the accounts of specific recidivist infringers

   known to Bright House, Bright House obtained a direct financial benefit from its subscribers’

   continuing infringing activity. That financial benefit included improper revenue that it would not

   have received had it appropriately shut down those accounts. Bright House decided not to

   terminate infringers because it wanted to maintain the revenue that is generated from their

   accounts.

          Answer:          Defendant denies the allegations in Paragraph 4 of the First Amended

   Complaint.

          5.      The infringing activity of Bright House’s subscribers that is the subject of

   Plaintiffs’ claims, and for which Bright House is secondarily liable, occurred after Bright House

   received multiple notices of each subscriber’s infringing activity. Specifically, Plaintiffs seek relief

   for claims that accrued between March 24, 2013 and May 17, 2016 for infringement of works by



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   Bright House subscribers after those particular subscribers were identified to Bright House in

   multiple infringement notices.3 These claims have been preserved through tolling agreements

   entered into with Bright House in March, April, and June 2016, as applicable.

           Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations of Paragraph 5 of the First Amended Complaint regarding the nature of Plaintiffs’

   claims, but denies that Plaintiffs are entitled to any relief, including for any period of time.

   Defendant admits that it entered into tolling agreements with certain of the Plaintiffs, but denies

   that those tolling agreements preserved all of Plaintiffs’ claims. Defendant denies the remaining

   allegations of Paragraph 5 of the First Amended Complaint.

                                        NATURE OF ACTION

           6.      This is a civil action in which Plaintiffs seek damages for copyright infringement

   under the Copyright Act, 17 U.S.C. § 101, et seq.

           Answer:        Defendant admits that Plaintiffs have filed this action under the copyright

   laws of the United States, but denies that there has been any wrongdoing.

           7.      This Court has original subject matter jurisdiction over Plaintiffs’ copyright

   infringement claims pursuant to 28 U.S.C. §§ 1331 and 1338(a).

           Answer:        Defendant admits that this Court has subject matter jurisdiction over

   Plaintiffs’ claims.

           8.      This Court has personal jurisdiction over Bright House pursuant to Fla. Stat.

   § 48.193. Bright House has continuously and systematically transacted business in Florida and



   3
     Specifically, the Universal Plaintiffs seek relief for claims that accrued on or after March 24,
   213; the Sony Music Plaintiffs and Warner Plaintiffs seek relief for claims that accrued on or after
   April 18, 2013; and the Sony/ATV and EMI Plaintiffs seek relief for claims that accrued on or
   after June 15, 2013.

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   maintained sizable operations in the state—employing thousands of people, and providing an array

   of services to customers, within the state during the relevant time period. Bright House has engaged

   in substantial activities purposefully directed at Florida from which Plaintiffs’ claims arise,

   including establishing significant network management operations in Florida; employing

   individuals within Florida with responsibility for overseeing its network and subscriber use

   policies; providing Internet service to Florida subscribers who used Bright House’s network to

   directly and repeatedly infringe Plaintiffs’ copyrights; continuing to provide Internet service to,

   and failing to suspend or terminate the accounts of Florida customers, even after receiving multiple

   notices of their infringing activity; advertising its high-speed Internet services in Florida to serve

   as a draw for subscribers who sought faster download speeds to facilitate their direct and repeated

   infringements; and/or responding or failing to respond to repeated notices of copyright

   infringement directed to infringing subscribers located in the state.

          Answer:         Defendant admits that Bright House conducts business in Florida, has

   employees in Florida, provides services to customers in Florida, and maintains network

   management operations in Colorado. Defendant denies the remaining allegations in Paragraph 8

   of the First Amended Complaint.

          9.      Much of the misconduct complained of herein arises directly from Bright House’s

   forum-directed activities—including specific and continuing acts of infringement by specific

   subscribers using Bright House’s network; Bright House’s awareness of those activities; Bright

   House’s receipt of and failure to act in response to Plaintiffs’ notices of infringement activity; and

   Bright House’s failure to take reasonable measures to terminate repeat infringers.

          Answer:         Defendant denies that there has been any unlawful conduct by Defendant

   giving rise to the claims in this case. Defendant lacks knowledge or information sufficient to admit



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   or deny the allegations in Paragraph 9 regarding the residence or location of any allegedly

   infringing subscribers, and on that basis denies the allegation. Defendant denies the remaining

   allegations in Paragraph 9 of the First Amended Complaint.

          10.     Many of the acts complained of herein occurred in Florida and in this judicial

   district. For example, a number of egregious repeat infringers, who are Bright House subscribers,

   reside in and infringed Plaintiffs’ rights in Florida and this judicial district using Internet service

   provided by Bright House in the state. Indeed, Plaintiffs have identified thousands of Bright House

   subscribers who appear to reside in Florida and who have repeatedly infringed Plaintiffs’

   copyrighted works. For example, one Bright House subscriber believed to be located in this

   district, with IP address 75.115.37.74 at the time of infringement, was identified in infringement

   notices 174 times between August 13, 2013 and September 24, 2014. A different Bright House

   subscriber believed to be located in this district, with IP address 75.115.115.76, was identified in

   infringement notices 88 times between August 20, 2013 and September 24, 2014. Yet another

   Bright House subscriber believed to be located in this district, with IP address 75.115.227.25, was

   identified in infringement notices 87 times between August 22, 2013 and November 27, 2014. Still

   another Bright House subscriber believed to be located in this district, with IP address

   71.47.207.198, was identified in infringement notices 146 times between March 5, 2014 and

   February 27, 2015. Yet another Bright House subscriber believed to be located in this district, with

   IP address 142.196.247.23 at the time of the infringing conduct, was identified in infringement

   notices 203 times between December 21, 2012 and November 27, 2014.

          Answer:         Defendant denies that there has been any unlawful conduct by Defendant

   giving rise to the claims in this case. Defendant lacks knowledge or information sufficient to admit

   or deny the allegations in Paragraph 10 regarding the residence, location or identity of any



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   allegedly infringing subscribers, and on that basis denies the allegation. Defendant denies the

   remaining allegations in Paragraph 10.

          11.     Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c), and 1400(a). A

   substantial part of the acts of infringement, and other events and omissions complained of herein,

   occur or have occurred in this district, and this is a district in which Bright House resides or may

   be found.

          Answer:         Defendant denies that there has been any unlawful conduct by Defendant

   giving rise to the claims in this case. Defendant lacks knowledge or information sufficient to admit

   or deny the allegations in Paragraph 11 regarding the residence or location of any allegedly

   infringing subscribers, and on that basis denies the allegation. Paragraph 11 contains legal

   conclusions to which no response is required. To the extent that a response is required, Defendant

   denies the remaining allegations of Paragraph 11.

                       PLAINTIFFS AND THEIR COPYRIGHTED MUSIC

          12.     Plaintiffs are the copyright owners of, and/or control exclusive rights with respect

   to, millions of sound recordings (i.e., recorded music) and/or musical compositions (i.e., the songs

   embodied in the sound recordings), including many written and recorded by some of the most

   prolific and well-known songwriters and recording artists throughout the world.

          Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 12 of the First Amended Complaint and on that basis denies those

   allegations.

          13.     Plaintiff UMG Recordings, Inc. (“UMG”) is a Delaware corporation with its

   principal place of business at 2220 Colorado Avenue, Santa Monica, California 90404.




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            Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 13 of the First Amended Complaint and on that basis denies those

   allegations.

            14.   Plaintiff Capitol Records, LLC (“Capitol Records”) is Delaware Limited Liability

   Company with its principal place of business at 1750 N. Vine Street, Los Angeles, California

   90068.

            Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 14 of the First Amended Complaint and on that basis denies those

   allegations.

            15.   Plaintiff Warner Records Inc. (f/k/a Warner Bros. Records Inc.) (“WRI”) is a

   Delaware corporation with its principal place of business at 777 South Santa Fe Avenue, Los

   Angeles, California 90021.

            Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 15 of the First Amended Complaint and on that basis denies those

   allegations.

            16.   Plaintiff Atlantic Recording Corporation (“Atlantic”) is a Delaware corporation

   with its principal place of business at 1633 Broadway, New York, New York 10019.

            Answer:      Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 16 of the First Amended Complaint and on that basis denies those

   allegations.

            17.   Plaintiff Bad Boy Records LLC (“Bad Boy”) is a Delaware Limited Liability

   Company with its principal place of business at 1633 Broadway, New York, New York 10019.




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          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 17 of the First Amended Complaint and on that basis denies those

   allegations.

          18.     Plaintiff Elektra Entertainment Group Inc. (“Elektra”) is a Delaware corporation

   with its principal place of business at 1633 Broadway, New York, New York 10019.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 18 of the First Amended Complaint and on that basis denies those

   allegations.

          19.     Plaintiff Fueled By Ramen LLC (“FBR”) is a Delaware Limited Liability Company

   with its principal place of business at 1633 Broadway, New York, New York 10019.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 19 of the First Amended Complaint and on that basis denies those

   allegations.

          20.     Plaintiff Maverick Recording Company (“Maverick”) is a California general

   partnership, with its principal place of business at 777 South Santa Fe Avenue, Los Angeles,

   California 90021.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 20 of the First Amended Complaint and on that basis denies those

   allegations.

          21.     Plaintiff Nonesuch Records Inc. (“Nonesuch”) is a Delaware corporation with its

   principal place of business at 1633 Broadway, New York, New York 10019.




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          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 21 of the First Amended Complaint and on that basis denies those

   allegations.

          22.     Plaintiff Rhino Entertainment Company (“Rhino”) is a Delaware corporation, with

   its principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 22 of the First Amended Complaint and on that basis denies those

   allegations.

          23.     Plaintiff The All Blacks U.S.A., Inc. (“The All Blacks”) is a Delaware corporation

   with its principal place of business at 1633 Broadway, New York, New York 10019.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 23 of the First Amended Complaint and on that basis denies those

   allegations.

          24.     Plaintiff Warner Music Inc. (“Warner Music”) is a Delaware corporation with its

   principal place of business at 1633 Broadway, New York, New York 10019.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 24 of the First Amended Complaint and on that basis denies those

   allegations.

          25.     Plaintiff Warner Records/SIRE Ventures LLC (“Warner Records/SIRE”) is a

   Delaware Limited Liability Company with its principal place of business at 777 South Santa Fe

   Avenue, Los Angeles, California 90021.




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          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 25 of the First Amended Complaint and on that basis denies those

   allegations.

          26.     Plaintiff WEA International Inc. (“WEA”) is a Delaware corporation with its

   principal place of business at 1633 Broadway, New York, New York 10019.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 26 of the First Amended Complaint and on that basis denies those

   allegations.

          27.     Plaintiff Sony Music Entertainment (“Sony”) is a Delaware general partnership, the

   partners of which are citizens of New York and Delaware. Sony’s headquarters and principal place

   of business are located at 25 Madison Avenue, New York, New York 10010.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 27 of the First Amended Complaint and on that basis denies those

   allegations.

          28.     Plaintiff Arista Music (“Arista Music”) is a New York partnership with its principal

   place of business at 25 Madison Avenue, New York, New York 10010.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 28 of the First Amended Complaint and on that basis denies those

   allegations.

          29.     Plaintiff Arista Records LLC (“Arista Records”) is a Delaware Limited Liability

   Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.




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          Answer:          Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 29 of the First Amended Complaint and on that basis denies those

   allegations.

          30.     Plaintiff LaFace Records LLC (“LaFace”) is a Delaware Limited Liability

   Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.

          Answer:          Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 30 of the First Amended Complaint and on that basis denies those

   allegations.

          31.     Plaintiff Provident Label Group, LLC (“Provident”) is a Delaware Limited

   Liability Company with its principal place of business at 741 Cool Springs Boulevard, Franklin,

   Tennessee 37067.

          Answer:          Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 31 of the First Amended Complaint and on that basis denies those

   allegations.

          32.     Plaintiff Sony Music Entertainment US Latin (“Sony Latin”) is a Delaware Limited

   Liability Company with its principal place of business at 3390 Mary Street, Suite 220, Coconut

   Grove, Florida 33133.

          Answer:          Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 32 of the First Amended Complaint and on that basis denies those

   allegations.

          33.     Plaintiff The Century Family, Inc. (“Century”) is a California corporation with its

   principal place of business at 12706 West Washington Boulevard, Culver City, California 90066.




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          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 33 of the First Amended Complaint and on that basis denies those

   allegations.

          34.     Plaintiff Volcano Entertainment III, LLC (“Volcano”) is a Delaware Limited

   Liability Company with its principal place of business at 25 Madison Avenue, New York, New

   York 10010.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 34 of the First Amended Complaint and on that basis denies those

   allegations.

          35.     Plaintiff Zomba Recording LLC (“Zomba”) is a Delaware Limited Liability

   Company with its principal place of business at 25 Madison Avenue, New York, New York 10010.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 35 of the First Amended Complaint and on that basis denies those

   allegations.

          36.     Plaintiffs UMG, Capitol Records, WRI, Atlantic, Bad Boy, Elektra, FBR,

   Nonesuch, Maverick, Rhino, The All Blacks, Warner Music, Warner Records/SIRE, WEA, Sony,

   Arista Music, Arista Records, LaFace, Provident, Sony Latin, Century, Volcano, and Zomba are

   referred to herein collectively as the “Record Company Plaintiffs.”

          Answer:        Paragraph 36 of the First Amended Complaint does not contain factual

   allegations to which Defendant is obligated to respond.

          37.     The Record Company Plaintiffs are some of the largest record companies in the

   world, engaged in the business of producing, manufacturing, distributing, selling, licensing, and

   otherwise exploiting sound recordings in the United States through various media. They invest



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   substantial money, time, effort, and talent in creating, advertising, promoting, selling, and licensing

   unique and valuable sound recordings embodying the performances of their exclusive recording

   artists.

              Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 37 of the First Amended Complaint and on that basis denies those

   allegations.

              38.   Plaintiff Universal Music Corp. (“UMC”) is a California corporation with its

   principal place of business at 2100 Colorado Avenue, Santa Monica, California 90404.

              Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 38 of the First Amended Complaint and on that basis denies those

   allegations.

              39.   Plaintiff Universal Music – MGB NA LLC (“MGB”) is a California Limited

   Liability Company with its principal place of business at 2100 Colorado Avenue, Santa Monica,

   California 90404.

              Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 39 of the First Amended Complaint and on that basis denies those

   allegations.

              40.   Plaintiff Universal Music Publishing Inc. (“Universal Music Publishing”) is a

   California corporation with its principal place of business at 2100 Colorado Avenue, Santa

   Monica, California 90404.

              Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 40 of the First Amended Complaint and on that basis denies those

   allegations.



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          41.     Plaintiff Universal Music Publishing AB (“AB”) is a company organized under the

   laws of Sweden.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 41 of the First Amended Complaint and on that basis denies those

   allegations.

          42.     Plaintiff Universal Music Publishing Limited (“Publishing Limited”) is a company

   incorporated under the laws of England and Wales.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 42 of the First Amended Complaint and on that basis denies those

   allegations.

          43.     Plaintiff Universal Music Publishing MGB Limited (“MGB Limited”) is a

   company incorporated under the laws of England and Wales.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 43 of the First Amended Complaint and on that basis denies those

   allegations.

          44.     Plaintiff Universal Music – Z Tunes LLC (“Z Tunes”) is a California corporation

   with its principal place of business at 2100 Colorado Avenue, Santa Monica, California 90404.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 44 of the First Amended Complaint and on that basis denies those

   allegations.

          45.     Plaintiff Universal/MCA Music Limited (“MCA Limited”) is a company

   incorporated under the laws of England and Wales.




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          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 45 of the First Amended Complaint and on that basis denies those

   allegations.

          46.     Plaintiff Universal/MCA Music Publishing Pty. Limited (“MCA Publishing

   Limited”) is a company organized under the laws of the Australia.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 46 of the First Amended Complaint and on that basis denies those

   allegations.

          47.     Plaintiff Music Corporation of America, Inc. (“Music Corp.”) is a California

   corporation with its principal place of business at 2100 Colorado Avenue, Santa Monica,

   California 90404.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 47 of the First Amended Complaint and on that basis denies those

   allegations.

          48.     Plaintiff Musik Edition Discoton GmbH (“Musik Edition”) is a company

   incorporated under the laws of Germany.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 48 of the First Amended Complaint and on that basis denies those

   allegations.

          49.     Plaintiff Polygram Publishing, Inc. (“Polygram Publishing”) is a California

   corporation with its principal place of business at 2100 Colorado Avenue, Santa Monica,

   California 90404.




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          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 49 of the First Amended Complaint and on that basis denies those

   allegations.

          50.     Plaintiff Songs of Universal, Inc. (“Songs of Universal”) is a California corporation

   with its principal place of business at 2100 Colorado Avenue, Santa Monica, California 90404.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 50 of the First Amended Complaint and on that basis denies those

   allegations.

          51.     Plaintiff Warner Chappell Music, Inc. (f/k/a Warner/Chappell Music, Inc.)

   (“Warner Chappell”) is a Delaware corporation with its principal place of business at 777 South

   Santa Fe Avenue, Los Angeles, California 90021.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 51 of the First Amended Complaint and on that basis denies those

   allegations.

          52.     Plaintiff Warner-Tamerlane Publishing Corp. (“Warner-Tamerlane”) is a

   California corporation with its principal place of business at 777 South Santa Fe Avenue, Los

   Angeles, California 90021.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 52 of the First Amended Complaint and on that basis denies those

   allegations.




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          (45)4 53.      Plaintiff W Chappell Music Corp. d/b/a WC Music Corp. (f/k/a WB Music

   Corp.) (“WC Music”) is a California corporation with its principal place of business at 777 South

   Santa Fe Avenue, Los Angeles, California 90021.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 53 of the First Amended Complaint and on that basis denies those

   allegations.

          (46) 54.       Plaintiff W.C.M. Music Corp. (f/k/a W.B.M. Music Corp.) (“W.C.M.”) is a

   Delaware corporation with its principal place of business at 777 South Santa Fe Avenue, Los

   Angeles, California 90021.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 54 of the First Amended Complaint and on that basis denies those

   allegations.

          (47) 55.       Plaintiff Unichappell Music Inc. (“Unichappell”) is a Delaware corporation

   with its principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 55 of the First Amended Complaint and on that basis denies those

   allegations.




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     There is a paragraph numbering error in Plaintiffs’ First Amended Complaint. ECF 96-1.
   Paragraph 52 on page 12 is followed by Paragraph 45 on page 13, and the numbering continues
   sequentially from paragraph 45 to the end of the document. For the remainder of this Answer, the
   erroneous First Amended Complaint numbering is placed in parenthesis before the sequential
   paragraph numbering, for ease of reference.

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          (48) 56.       Plaintiff Rightsong Music Inc. (“Rightsong Music”) is a Delaware

   corporation with its principal place of business at 777 South Santa Fe Avenue, Los Angeles,

   California 90021.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 56 of the First Amended Complaint and on that basis denies those

   allegations.

          (49) 57.       Plaintiff Cotillion Music, Inc. (“Cotillion”) is a Delaware corporation with

   its principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 57 of the First Amended Complaint and on that basis denies those

   allegations.

          (50) 58.       Plaintiff Intersong U.S.A., Inc. (“Intersong”) is a Delaware corporation with

   its principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 58 of the First Amended Complaint and on that basis denies those

   allegations.

          (51) 59.       Chappell & Co. Inc. (“Chappell”) is a Delaware corporation with its

   principal place of business at 777 South Santa Fe Avenue, Los Angeles, California 90021.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 59 of the First Amended Complaint and on that basis denies those

   allegations.




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          (52) 60.      Plaintiff Sony/ATV Music Publishing LLC (“Sony/ATV”) is a Delaware

   Limited Liability Company with its principal place of business at 25 Madison Avenue, New York,

   New York 10010.

          Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 60 of the First Amended Complaint and on that basis denies those

   allegations.

          (53) 61.      Plaintiff EMI Al Gallico Music Corp. (“EMI Al Gallico”), an affiliate of

   Sony/ATV, is a Delaware corporation with its principal place of business at 25 Madison Avenue,

   New York, New York 10010.

          Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 61 of the First Amended Complaint and on that basis denies those

   allegations.

          (54) 62.      Plaintiff EMI April Music Inc. (“EMI April”), an affiliate of Sony/ATV, is

   a Connecticut corporation with its principal place of business at 25 Madison Avenue, New York,

   New York 10010.

          Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 62 of the First Amended Complaint and on that basis denies those

   allegations.

          (55) 63.      Plaintiff EMI Blackwood Music Inc. (“EMI Blackwood”), an affiliate of

   Sony/ATV, is a Connecticut corporation with its principal place of business at 25 Madison

   Avenue, New York, New York 10010.




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          Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 63 of the First Amended Complaint and on that basis denies those

   allegations.

          (56) 64.      Plaintiff Colgems-EMI Music Inc. (“EMI Colgems”), an affiliate of

   Sony/ATV, is a Delaware corporation with its principal place of business at 25 Madison Avenue,

   New York, New York 10010.

          Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 64 of the First Amended Complaint and on that basis denies those

   allegations.

          (57) 65.      Plaintiff EMI Consortium Music Publishing Inc. d/b/a EMI Full Keel Music

   (“EMI Full Keel”), an affiliate of Sony/ATV, is a New York corporation with its principal place

   of business at 25 Madison Avenue, New York, New York 10010.

          Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 65 of the First Amended Complaint and on that basis denies those

   allegations.

          (58) 66.      Plaintiff EMI Consortium Songs, Inc., individually and d/b/a EMI

   Longitude Music (“EMI Longitude”), an affiliate of Sony/ATV, is a New York corporation with

   its principal place of business at 25 Madison Avenue, New York, New York 10010.

          Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 66 of the First Amended Complaint and on that basis denies those

   allegations.




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          (59) 67.       EMI Entertainment World Inc. d/b/a EMI Foray Music (“EMI

   Entertainment”), an affiliate of Sony/ATV, is a Delaware corporation with its principal place of

   business at 25 Madison Avenue, New York, New York 10010.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 67 of the First Amended Complaint and on that basis denies those

   allegations.

          (60) 68.       EMI Jemaxal Music Inc. (“EMI Jemaxal”), an affiliate of Sony/ATV, is a

   Delaware corporation with its principal place of business at 25 Madison Avenue, New York, New

   York 10010.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 68 of the First Amended Complaint and on that basis denies those

   allegations.

          (61) 69.       Plaintiff EMI Feist Catalog Inc. (“EMI Feist”), an affiliate of Sony/ATV, is

   a New York corporation with its principal place of business at 25 Madison Avenue, New York,

   New York 10010.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 69 of the First Amended Complaint and on that basis denies those

   allegations.

          (62) 70.       Plaintiff EMI Miller Catalog Inc. (“EMI Miller”), an affiliate of Sony/ATV,

   is a New York corporation with its principal place of business at 25 Madison Avenue, New York,

   New York 10010.




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            Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 70 of the First Amended Complaint and on that basis denies those

   allegations.

            (63) 71.    Plaintiff EMI Mills Music, Inc. (“EMI Mills”), an affiliate of Sony/ATV, is

   a Delaware corporation with its principal place of business at 25 Madison Avenue, New York,

   New York 10010.

            Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 71 of the First Amended Complaint and on that basis denies those

   allegations.

            (64) 72.    Plaintiff EMI U Catalog Inc. (“EMI U”), an affiliate of Sony/ATV, is a New

   York corporation with its principal place of business at 25 Madison Avenue, New York, New York

   10010.

            Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 72 of the First Amended Complaint and on that basis denies those

   allegations.

            (65) 73.    Plaintiff Famous Music LLC (“Famous Music”) is a Delaware Limited

   Liability Company with its principal place of business at 25 Madison Avenue, New York, New

   York 10010.

            Answer:     Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 73 of the First Amended Complaint and on that basis denies those

   allegations.




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          (66) 74.       Plaintiff Jobete Music Co. Inc. (“Jobete”), an affiliate of Sony/ATV, is a

   Michigan corporation with its principal place of business at 25 Madison Avenue, New York, New

   York 10010. Plaintiff Stone Agate Music (“Stone Agate”) is a division of Jobete.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 74 of the First Amended Complaint and on that basis denies those

   allegations.

          (67) 75.       Plaintiff Screen Gems-EMI Music Inc. (“Gems-EMI”), an affiliate of

   Sony/ATV, is a Delaware corporation with its principal place of business at 25 Madison Avenue,

   New York, New York 10010.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 75 of the First Amended Complaint and on that basis denies those

   allegations.

          (68) 76.       Plaintiff Stone Diamond Music Corp. (“Stone”), an affiliate of Sony/ATV,

   is a Michigan corporation with its principal place of business at 25 Madison Avenue, New York,

   New York 10010.

          Answer:        Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 76 of the First Amended Complaint and on that basis denies those

   allegations.

          (69) 77.       Plaintiffs UMC, MGB, Universal Music Publishing, AB, Publishing

   Limited, MGB Limited, Z Tunes, MCA Limited, MCA Publishing Limited, Music Corp., Musik

   Edition, Polygram Publishing, Songs of Universal, Warner Chappell, Warner-Tamerlane, WC

   Music, W.C.M., Unichappell, Rightsong Music, Cotillion, Intersong, Chappell, Sony/ATV, EMI

   Al Gallico, EMI April, EMI Blackwood, EMI Colgems, EMI Full Keel, EMI Longitude, EMI



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   Entertainment, EMI Jemaxal, EMI Feist, EMI Miller, EMI Mills, EMI U, Famous Music, Jobete,

   Stone Agate, Gems-EMI, and Stone are referred to herein collectively as the “Music Publisher

   Plaintiffs.”

           Answer:       Paragraph 77 of the First Amended Complaint does not contain factual

   allegations to which Defendant is obligated to respond.

           (70) 78.      The Music Publisher Plaintiffs are leading music publishers engaged in the

   business of acquiring, owning, publishing, licensing, and otherwise exploiting copyrighted musical

   compositions. Each invests substantial money, time, effort, and talent to acquire, administer,

   publish, license, and otherwise exploit such copyrights, on its own behalf and on behalf of

   songwriters and others who have assigned exclusive copyright interests to the Music Publisher

   Plaintiffs.

           Answer:       Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 78 of the First Amended Complaint and on that basis denies those

   allegations.

           (71) 79.      Plaintiffs own and/or control in whole or in part the copyrights and/or

   exclusive rights in innumerable popular sound recordings and musical compositions, including the

   sound recordings listed on Exhibit A and musical compositions listed on Exhibit B, both of which

   are illustrative and non-exhaustive. All of the sound recordings and musical compositions listed

   on Exhibits A and B have been registered with the U.S. Copyright Office.

           Answer:       Defendant admits that Exhibits A and B to the First Amended Complaint5

   purport to list the works alleged by Plaintiffs in this action. Defendant lacks knowledge or




   5
    Plaintiffs’ original Exhibits A and B to their First Amended Complaint, ECF 94-1 and 94-2, were
   ordered to be replaced with amended versions on February 18, 2020. ECF 117. As described in
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   information sufficient to admit or deny the remaining allegations of Paragraph 79 of the First

   Amended Complaint and on that basis denies those allegations.

                             BRIGHT HOUSE AND ITS ACTIVITIES

          (72) 80.        Bright House is a Delaware Limited Liability Company with its principal

   place of business at 12405 Powerscourt Drive, St. Louis, Missouri 63131. Bright House maintains,

   and at all pertinent times has maintained, substantial operations and offices in Florida.

          Answer:         Defendant admits that Bright House is a Delaware limited liability company

   and that Bright House operates an office in Florida but denies the remaining allegations in

   Paragraph 80 of the First Amended Complaint.

          (73) 81.        Bright House’s customers have paid substantial subscription fees for access

   to its high-speed Internet network, with Bright House offering a range of options that allow

   subscribers to purchase Internet service based on different downloading speeds.

          Answer:         Defendant admits that, during the time period relevant to Plaintiffs’

   allegations, Bright House offered various products at different price points. Defendant denies the

   remaining allegations in Paragraph 85 of the First Amended Complaint.

          (74) 82.        Many of Bright House’s subscribers are primarily drawn to its service

   because it allows them to use Bright House’s network to download music and other copyrighted

   content—including unauthorized content—as efficiently as possible. Accordingly, in its consumer

   marketing material, Bright House has touted how its service enables subscribers to download and

   upload large amounts of content, including music, in seconds. In exchange for this service, Bright

   House charges its customers monthly fees ranging in price based on the type of service.




   detail in Bright House’s Counterclaims below, these amended versions of Exhibits A and B
   dropped hundreds of works that Plaintiffs had previously asserted.

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          Answer:         Defendant admits that its Internet service allows customers to download

   content. Defendant admits that, during the time period relevant to Plaintiffs’ allegations, Bright

   House offered various products at different price points. Defendant denies the remaining

   allegations in Paragraph 82 of the First Amended Complaint.

          (75) 83.        At the same time, Bright House has consistently and actively engaged in

   network management practices to suit its own purposes. This includes monitoring for, and taking

   action against, spam and other unwanted activity that might otherwise interfere with its provision

   of Internet service to its subscribers. But Bright House has gone out of its way not to take action

   against subscribers engaging in repeated copyright infringement, at the expense of copyright

   owners, ultimately forcing Plaintiffs to bring this litigation.

          Answer:         Defendant denies the allegations in Paragraph 86 of the First Amended

   Complaint.

          (76) 84.        At all pertinent times, Bright House knew that its subscribers routinely used

   its networks for illegally downloading and uploading copyrighted works, especially music. As

   described below, Plaintiffs repeatedly notified Bright House that many of its subscribers were

   actively utilizing its service to infringe their works. Those notices gave Bright House the specific

   identities of its subscribers engaged in copyright infringement, referred to by their unique Internet

   Protocol or “IP” addresses. Yet Bright House persistently turned a blind eye to the massive

   infringement of Plaintiffs’ works occurring over its network. Bright House condoned the illegal

   activity because it was popular with subscribers and acted as a draw to attract and retain new and

   existing subscribers. Bright House’s customers, in turn, continued using Bright House’s services

   to infringe Plaintiffs’ copyrights. Bright House undoubtedly recognized that if it terminated or

   otherwise prevented its repeat infringer subscribers from using its service to infringe, or made it



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   less attractive for such use, Bright House would enroll fewer new subscribers, lose existing

   subscribers, and ultimately lose revenue. For those account holders and subscribers who wanted

   to download files illegally at faster speeds, Bright House obliged them in exchange for higher

   rates. In other words, the greater the bandwidth its subscribers required for pirating content, the

   more money Bright House made.

          Answer:         Defendant denies the allegations in Paragraph 84 of the First Amended

   Complaint.

                              THE GLOBAL P2P PIRACY PROBLEM

                                          General Landscape

          (77) 85.        While the digital age has brought many benefits, one notable exception is

   its facilitation of unprecedented online piracy of music and other copyrighted works. As the

   Supreme Court has recognized, the level of copyright infringement on the Internet is “staggering.”

   Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 923 (2005).

          Answer:         Defendant admits that Paragraph 85 includes an accurate one-word quote

   from the Supreme Court of the United States, but Defendant denies the allegations in Paragraph

   88 of the First Amended Complaint that reflect the characterization of the Supreme Court’s opinion

   on the basis that the opinion of the Supreme Court speaks for itself. Defendant denies the remaining

   allegations in Paragraph 88 of the First Amended Complaint.

          (78) 86.        Use of peer-to-peer (“P2P”) distribution systems has dominated

   unauthorized downloading and distribution of copyrighted music. P2P is a generic term used to

   refer to a decentralized network of users whereby each Internet-connected participant (i.e., a “peer”

   or a “node”) can act as both a supplier and consumer of content files. Early P2P services, such as

   Napster and KaZaA, have been replaced by even more robust and efficient systems, most notably



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   a protocol called “BitTorrent.” The online piracy committed via BitTorrent is stunning in nature,

   speed, and scope. Utilizing a BitTorrent client—essentially a tool that manages the uploading and

   downloading of files through BitTorrent technology—persons connected to the Internet can locate,

   access, and download copyrighted content from other peers in the blink of an eye. They download

   copyrighted music from other network users, usually total strangers, and end up with complete

   digital copies of any music they desire—without payment to copyright owners or creators.

          Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 86 of the First Amended Complaint, and on that basis denies those

   allegations.

          (79) 87.        BitTorrent is uniquely efficient in the way it facilitates illegal file transfers.

   On earlier P2P networks, a user wanting to download a music file would have to locate another

   Internet-connected peer with the desired file and download the entire file from that peer. BitTorrent

   facilitates much faster downloading by breaking each file into pieces, allowing users to download

   different pieces of content simultaneously from different peers. At the same time, the system

   allows users to begin disseminating the copyrighted content before the complete file has even

   downloaded. This means that, at any given time, each user connected to the Internet can be both

   downloading and uploading different pieces of a file from, and to, multiple other users. Once a

   user has downloaded all the pieces, the file is automatically reassembled into its complete form

   and available for playback by the user. Needless to say, acquiring copyrighted music in this fashion

   eliminates the need to obtain it through legitimate channels and eliminates the requirement of

   paying a fee.




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          Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 87 of the First Amended Complaint, and on that basis denies those

   allegations.

          (80) 88.        Not surprisingly, then, during the time period in which the claims in this

   action arose, BitTorrent was used widely as a vehicle to infringe content online. In a report from

   January 2011, a survey conducted by the firm Envisional estimated that 11.4 percent of all Internet

   traffic involved the unauthorized distribution of non-pornographic copyrighted content via

   BitTorrent. In a report from September 24, 2013, another company, NetNames, estimated that

   99.97 percent of non-pornographic files distributed via BitTorrent systems infringe copyrights. To

   illustrate, in one well-publicized incident in 2015, millions of individual BitTorrent users

   downloaded an episode of HBO’s “Game of Thrones” within just 24 hours of its airing.

          Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in the first or third sentences in Paragraph 88 of the First Amended Complaint, and on

   that basis denies those allegations. Defendant denies the remaining allegations in Paragraph 88 of

   the First Amended Complaint, and where the allegations in Paragraph 88 refer to reports,

   Defendant refers the Court to those reports for an accurate rendition of their contents.

          Plaintiffs’ Enforcement Activities and Bright House’s Efforts to Thwart Them

          (81) 89.        Over the past two decades, as P2P piracy became widespread, music and

   other copyright owners have employed litigation and other means to attempt to curtail the massive

   theft of their copyrighted works. Bright House has been keenly aware of those efforts and the use

   of its network for P2P piracy.

          Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in the first sentence of Paragraph 89 of the First Amended Complaint, and on that basis



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   denies those allegations. Defendant denies the remaining allegations in Paragraph 89 of the First

   Amended Complaint.

          (82) 90.        The Record Company Plaintiffs began sending notices to Bright House (and

   other ISPs) identifying specific instances of its subscribers’ infringement through P2P activities.

   From 2012 through 2015, Bright House received over one hundred thousand notices, provided

   under penalty of perjury, detailing specific instances of its subscribers using P2P protocols on its

   network to distribute and copy Plaintiffs’ copyrighted content unlawfully both within, and beyond,

   the Bright House network.

          Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in the first sentence of Paragraph 90 of the First Amended Complaint, and on that basis

   denies those allegations. Defendant admits that it received notices from third party, the RIAA, of

   which the only portion stated under penalty of perjury is that the RIAA was authorized to send the

   notice on behalf of its member companies in matters involving the infringement of their sound

   recordings, including enforcing their copyrights and common law rights on the Internet. Defendant

   denies the remaining allegations in Paragraph 90.

          (83) 91.        The infringement notices provided to Bright House identify the unique IP

   address assigned to each user of Bright House’s network, and the date and time the infringing

   activity was detected. Only Bright House, as the provider of the technology and system used to

   infringe, had the information required to match the IP address to a particular subscriber, and to

   contact that subscriber or terminate that subscriber’s service.

          Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in the first sentence in Paragraph 91 of the First Amended Complaint, and on that basis

   denies those allegations. Defendant admits that Bright House generally has the ability to match an



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   IP address, accompanied with the date and time, to particular subscribers, with respect to at least

   some historic accounts, but denies that Bright House has the ability to determine the identity of

   the individual using the device on its service. Defendant denies the remaining allegations in

   Paragraph 91 of the First Amended Complaint.

          (84) 92.        Plaintiffs’ infringement notices notified Bright House of clear and

   unambiguous infringing activity by Bright House subscribers—that is, unauthorized downloading

   and distribution of copyrighted music. Bright House’s subscribers had no legal basis or

   justification for downloading or distributing digital copies of Plaintiffs’ sound recordings and

   musical compositions to thousands or millions of strangers over the Internet. Tellingly, to the

   extent that Bright House forwarded Plaintiffs’ infringement notices to subscribers accused of using

   Bright House’s network to infringe, those subscribers did not challenge the claims of infringement

   by sending counter-notices to Bright House contesting those claims (a process that Bright House

   outlined and made available to its users).

          Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in the second sentence in Paragraph 92 of the First Amended Complaint, on that basis

   denies those allegations. Defendant admits that Bright House generally has the ability to match an

   IP address, accompanied with the date and time, to particular subscribers, with respect to at least

   some historic accounts, but denies that Bright House has the ability to determine the identity of

   the individual using the device on its service. Defendant denies the remaining allegations in

   Paragraph 92 of the First Amended Complaint.

          (85) 93.        Apart from attesting to the sheer volume of the infringing activity on its

   network, the infringement notices sent to Bright House pointed to specific subscribers who were

   flagrant and serial infringers. The infringement notices identified tens of thousands of Bright



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   House subscribers engaged in blatant and repeated infringement of Plaintiffs’ copyrighted works.

   To cite just a few specific examples:

          •     During an 827-day period, Bright House subscriber with IP address 75.114.183.231
                was identified in 340 infringement notices, sent on at least 232 separate days.

          •     During a 706-day period, Bright House subscriber with IP address 142.196.247.23 was
                identified in 203 infringement notices, sent on at least 154 separate days.

          •     During a 609-day period, Bright House subscriber with IP address 50.90.203.155 was
                identified in 182 infringement notices, sent on at least 164 separate days.

          •     During an 827-day period, Bright House subscriber with IP address 50.89.138.87 was
                identified in 131 infringement notices, sent on at least 119 separate days.

          •     During a 576-day period, Bright House subscriber with IP address 174.134.133.106
                was identified in 126 infringement notices, sent on at least 105 separate days.

          •     During a 447-day period, Bright House subscriber with IP address 50.89.140.125 was
                identified in 114 infringement notices, sent on at least 90 separate days.

          These examples and countless others amply illustrate that, rather than terminating repeat

   infringers—and losing subscription revenues—Bright House simply looked the other way.

          Answer:         Defendant denies the allegations in Paragraph 93 of the First Amended

   Complaint.

          (86) 94.        During all pertinent times, Bright House had the full legal right, obligation,

   and technical ability to prevent or limit the infringements occurring on its network. Under Bright

   House’s terms of service and acceptable use policies, which its subscribers agreed to as a condition

   of using its Internet service, Bright House was empowered to exercise its right and ability to

   suspend or terminate a customer’s Internet access. Bright House could do so for a variety of

   reasons, including a subscriber’s copyright infringement activity.

          Answer:         Defendant admits that it maintains terms of service and acceptable use

   policies, and those documents speak for themselves. Bright House denies the remaining allegations

   in Paragraph 94 of the First Amended Complaint.

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           (87) 95.        Despite these alleged policies, and despite receiving over one hundred

   thousand infringement notices from Plaintiffs, as well as thousands of similar notices from other

   copyright owners, Bright House knowingly permitted specifically identified repeat infringers to

   continue to use its network to infringe. Rather than disconnect the Internet access of blatant repeat

   infringers to curtail their infringement, Bright House knowingly continued to provide these

   subscribers with the Internet access that enabled them to continue to illegally download or

   distribute Plaintiffs’ copyrighted works unabated. Bright House’s provision of high-speed Internet

   service to known infringers materially contributed to these direct infringements. Bright House’s

   failure to act is entirely consistent with its hollow “graduated response” program for copyright

   violators, which, as Bright House stated and reinforced to subscribers, was meant only “to educate

   consumers about copyright infringement” and “not to punish them.”

           Answer:         Defendant denies the allegations in Paragraph 95 of the First Amended

   Complaint.

           (88) 96.        Bright House’s motivation for refusing to terminate or suspend the accounts

   of blatant infringing subscribers is simple: it valued corporate profits over its legal responsibilities.

   Bright House did not want to lose subscriber revenue by terminating accounts of infringing

   subscribers. Retaining infringing subscribers provided a direct financial benefit to Bright House.

   Nor did Bright House want to risk the possibility that account terminations would make its service

   less attractive to other existing or prospective users. Moreover, Bright House was simply

   disinterested in devoting sufficient resources to tracking repeat infringers, responding to

   infringement notices, and terminating accounts in appropriate circumstances. Considering only its

   own pecuniary gain, Bright House ignored and turned a blind eye to flagrant, repeat violations by

   known specific subscribers using its service to infringe, thus facilitating and multiplying the harm



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   to Plaintiffs. And Bright House’s failure to police its infringing subscribers adequately drew

   subscribers to purchase Bright House’s services, so that the subscribers could then use those

   services to infringe Plaintiffs’ (and others’) copyrights. The specific infringing subscribers

   identified in Plaintiffs’ notices, including the egregious infringers identified herein, knew Bright

   House would not terminate their accounts despite receiving multiple notices identifying them as

   infringers, and they remained Bright House subscribers to continue illegally downloading

   copyrighted works.

          Answer:         Defendant denies the allegations in Paragraph 96 of the First Amended

   Complaint.

          (89) 97.        The consequences of Bright House’s support of and profit from

   infringement are obvious and stark. When Bright House’s subscribers use Bright House’s network

   to obtain infringing copies of Plaintiffs’ copyrighted works illegally, that activity undercuts the

   legitimate music market, depriving Plaintiffs and those recording artists and songwriters whose

   works they sell and license of the compensation to which they are entitled. Without such

   compensation, Plaintiffs, and their recording artists and songwriters, have fewer resources

   available to invest in the further creation and distribution of high-quality music.

          Answer:         Defendant denies the allegations in Paragraph 97 of the First Amended

   Complaint and denies that Plaintiffs are entitled to any relief.

                                        CLAIMS FOR RELIEF

                           Count I – Contributory Copyright Infringement

          (90) 98.        Plaintiffs repeat and re-allege each and every allegation contained in

   paragraphs 1 through (89) 97 as if fully set forth herein.




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          Answer:         Defendant incorporates by reference its responses to Paragraphs 1 through

   97 of the First Amended Complaint.

          (91) 99.        Bright House and its subscribers do not have any authorization, permission,

   license, or consent to exploit the copyrighted sound recordings or musical compositions at issue.

          Answer:         Defendant lacks knowledge or information sufficient to admit or deny the

   allegations in Paragraph 99 of the First Amended Complaint and on that basis denies those

   allegations.

          (92) 100.       Bright House’s subscribers, using Internet access and services provided by

   Bright House, have unlawfully reproduced and distributed via BitTorrent, or other P2P networks,

   thousands of sound recordings and musical compositions for which Plaintiffs are the legal or

   beneficial copyright owners or exclusive licensees. The copyrighted works infringed by Bright

   House’s subscribers, which have been registered with the U.S. Copyright Office, include those

   listed on Exhibits A and B, and many others. The foregoing activity constitutes direct infringement

   in violation of 17 U.S.C. §§ 106 and 501, et seq.

          Answer:         Paragraph 100 contains legal conclusions to which no response is required.

   Defendant admits that Exhibits A and B to the First Amended Complaint purport to list the works

   alleged by Plaintiffs in this action. Defendant lacks knowledge or information sufficient to admit

   or deny the remaining allegations in Paragraph 100 of the First Amended Complaint and on that

   basis denies those allegations.

          (93) 101.       Bright House is liable as a contributory copyright infringer for the direct

   infringements described above. Through Plaintiffs’ infringement notices and other means, Bright

   House had knowledge that its network was being used for infringement of Plaintiffs’ copyrighted

   works on a massive scale, and also knew of specific subscribers engaged in such repeated and



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   flagrant infringement. Nevertheless, Bright House facilitated, encouraged, and materially

   contributed to such infringement by continuing to provide its network and the facilities necessary

   for its subscribers to commit repeated infringements. Bright House had the means to withhold that

   assistance upon learning of specific infringing activity by specific users but failed to do so.

          Answer:         Paragraph 101 contains legal conclusions to which no response is required.

   To the extent a response is required, Defendant denies the allegations contained in Paragraph 101

   of the First Amended Complaint.

          (94) 102.       By purposefully ignoring and turning a blind eye to its subscribers’ flagrant

   and repeated infringements, Bright House knowingly caused and materially contributed to the

   unlawful reproduction and distribution of Plaintiffs’ copyrighted works, including but not limited

   to those listed on Exhibits A and B hereto, in violation of Plaintiffs’ exclusive rights under the

   copyright laws of the United States.

          Answer:         Paragraph 102 contains legal conclusions to which no response is required.

   Defendant admits that Exhibits A and B to the First Amended Complaint purport to list the works

   alleged by Plaintiffs in this action. To the extent a response is required, Defendant denies the

   allegations contained in Paragraph 102 of the First Amended Complaint.

          (95) 103.       Each infringement of Plaintiffs’ copyrighted sound recordings and musical

   compositions constitutes a separate and distinct act of infringement. Plaintiffs’ claims of

   infringement against Bright House are timely pursuant to tolling agreements.

          Answer:         Paragraph 103 contains legal conclusions to which no response is required.

   To the extent a response is required, Defendant denies the allegations contained in Paragraph 103

   of the First Amended Complaint.




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          (96) 104.        The foregoing acts of infringement by Bright House have been willful,

   intentional, and purposeful, in disregard of Plaintiffs’ rights. Indeed, the sound recordings on

   Exhibit A and the musical compositions on Exhibit B represent works infringed by Bright House’s

   subscribers after those particular subscribers were identified to Bright House in multiple

   infringement notices.

          Answer:          Paragraph 104 contains legal conclusions to which no response is required.

   To the extent a response is required, Defendant denies the allegations contained in Paragraph 104

   of the First Amended Complaint.

          (97) 105.        As a direct and proximate result of Bright House’s willful infringement of

   Plaintiffs’ copyrights, Plaintiffs are entitled to statutory damages, pursuant to 17 U.S.C. § 504(c),

   in an amount of up to $150,000 with respect to each work infringed, or such other amount as may

   be proper under 17 U.S.C. § 504(c). Alternatively, at Plaintiffs’ election, Plaintiffs shall be entitled

   to their actual damages pursuant to 17 U.S.C. § 504(b), including Bright House’s profits from the

   infringements, as will be proven at trial.

          Answer:          Paragraph 105 contains legal conclusions to which no response is required.

   To the extent a response is required, Defendant denies the allegations contained in Paragraph 105

   of the First Amended Complaint.

          (98) 106. Plaintiffs also are entitled to their attorneys’ fees and full costs pursuant to 17

   U.S.C. § 505.

          Answer:          Paragraph 106 contains legal conclusions to which no response is required.

   To the extent a response is required, Defendant denies the allegations contained in Paragraph 106

   of the First Amended Complaint.




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                            Count II – Vicarious Copyright Infringement

          (99) 107.       Plaintiffs repeat and re-allege each and every allegation contained in

   paragraphs 1 through 98 as if fully set forth herein.

          Answer:         Plaintiffs’ Count II for Vicarious Copyright Infringement has been

   dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

          (100) 108.      Bright House and its subscribers have no authorization, license, or other

   consent to exploit the copyrighted sound recordings or musical compositions at issue.

          Answer:         Plaintiffs’ Count II for Vicarious Copyright Infringement has been

   dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

          (101) 109.      Bright House’s subscribers, using Internet access and services provided by

   Bright House, have unlawfully reproduced and distributed via BitTorrent or other P2P services

   thousands of sound recordings and musical compositions of which Plaintiffs are the legal or

   beneficial copyright owners or exclusive licensees. The copyrighted works infringed by Bright

   House’s subscribers, which have been registered with the U.S. Copyright Office, include those

   listed on Exhibits A and B, and many others. The foregoing activity constitutes direct infringement

   in violation of 17 U.S.C. §§ 106 and 501, et seq.

          Answer:         Plaintiffs’ Count II for Vicarious Copyright Infringement has been

   dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

          (102) 110.      Bright House is liable as a vicarious copyright infringer for the direct

   infringements described above. Bright House has the legal and practical right and ability to

   supervise and control the infringing activities that occur through the use of its network, and at all

   relevant times has had a financial interest in, and derived direct financial benefit from, the

   infringing use of its network. Bright House has derived an obvious and direct financial benefit



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   from its customers’ infringement. The ability to use Bright House’s high-speed Internet facilities

   to illegally download Plaintiffs’ copyrighted works has served to draw, maintain, and generate

   higher fees from paying subscribers to Bright House’s service. Among other financial benefits, by

   failing to terminate the accounts of specific repeat infringers known to Bright House, Bright House

   has profited from illicit revenue through user subscription fees that it would not have otherwise

   received from repeat infringers, as well as new subscribers drawn to Bright House’s services for

   the purpose of illegally downloading copyrighted works. The specific infringing subscribers

   identified in Plaintiffs’ notices, including the egregious infringers identified herein, knew Bright

   House would not terminate their accounts despite receiving multiple notices identifying them as

   infringers, and they remained Bright House subscribers to continue illegally downloading

   copyrighted works.

             Answer:      Plaintiffs’ Count II for Vicarious Copyright Infringement has been

   dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

             (103) 111.   Bright House is vicariously liable for the unlawful reproduction and

   distribution of Plaintiffs’ copyrighted works, including but not limited to those listed on Exhibits

   A and B hereto, in violation of Plaintiffs’ exclusive rights under the copyright laws of the United

   States.

             Answer:      Plaintiffs’ Count II for Vicarious Copyright Infringement has been

   dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

             (104) 112.   Each infringement of Plaintiffs’ copyrighted sound recordings and musical

   compositions constitutes a separate and distinct act of infringement. Plaintiffs’ claims of

   infringement against Bright House are timely pursuant to tolling agreements.




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          Answer:          Plaintiffs’ Count II for Vicarious Copyright Infringement has been

   dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

          (105) 113.       The foregoing acts of infringement by Bright House have been willful,

   intentional, and purposeful, in disregard of Plaintiffs’ rights. Indeed, the sound recordings on

   Exhibit A and the musical compositions on Exhibit B are works infringed by Bright House’s

   subscribers after those particular subscribers were identified to Bright House in multiple prior

   infringement notices.

          Answer:          Plaintiffs’ Count II for Vicarious Copyright Infringement has been

   dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

          (106) 114.       As a direct and proximate result of Bright House’s willful infringement of

   Plaintiffs’ copyrights, Plaintiffs are entitled to statutory damages, pursuant to 17 U.S.C. § 504(c),

   in an amount of up to $150,000 with respect to each work infringed, or such other amount as may

   be proper under 17 U.S.C. § 504(c). Alternatively, at Plaintiffs’ election, Plaintiffs shall be entitled

   to their actual damages pursuant to 17 U.S.C. § 504(b), including Bright House’s profits from the

   infringements, as will be proven at trial.

          Answer:          Plaintiffs’ Count II for Vicarious Copyright Infringement has been

   dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.

          (107) 115.       Plaintiffs are further entitled to their attorneys’ fees and full costs pursuant

   to 17 U.S.C. § 505.

          Answer:          Plaintiffs’ Count II for Vicarious Copyright Infringement has been

   dismissed with prejudice. ECF 142. Bright House is under no obligation to answer this allegation.




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                                         PRAYER FOR RELIEF

           Plaintiffs’ Prayer for Relief contains legal conclusions to which no response is required. To

   the extent a response is required, Defendant denies any allegations associated with Plaintiffs’

   Prayer for Relief and denies that Plaintiffs are entitled to any relief.

                                        JURY TRIAL DEMAND

           Defendant demands a trial by jury of all issues that are so triable.

                                      AFFIRMATIVE DEFENSES

           Defendant identifies the following affirmative defenses and reserves the right to raise

   additional defenses as discovery proceeds. Defendant does not assume the burden of proof on any

   issue, however characterized, on which it does not bear that burden. Defendant reserves all

   affirmative defenses not stated herein under Rule 8(c) of the Federal Rules of Civil Procedure and

   any other defense at law or in equity that may now exist or in the future be available based upon

   discovery and further investigation in this case.

           1.      The First Amended Complaint, and each cause of action within it, fails to state facts

                   sufficient to constitute a cause of action.

           2.      The statute of limitations bars Plaintiffs’ claims to the extent Plaintiffs allege

                   infringements that accrued outside the three-year limitations period, including any

                   applicable tolling of the limitations period.

           3.      Plaintiffs’ claims are barred or its damages are limited because any infringement

                   was innocent.

           4.      Plaintiffs’ claims are barred because Defendant’s ISP service has substantial non-

                   infringing uses.

           5.      The doctrine of unclean hands bars Plaintiffs’ claims.



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         6.     Plaintiffs’ claims are barred by the doctrine of copyright misuse.

         7.     Plaintiffs’ failure to mitigate damages bars their claims or limits their recovery.

         8.     The doctrine of estoppel bars Plaintiffs’ claims.

         9.     To the extent that Plaintiffs rely upon copyright registrations that rest upon

                misstatements or fraud, those misstatements or fraud bar Plaintiffs’ claims.

         10.    To the extent that Plaintiffs failed to comply with renewal, notice, and registration

                requirements and/or other formalities, Plaintiffs’ claim are barred.

         11.    Plaintiffs’ claims are barred, in whole or in part, by the First Amendment to the

                U.S. Constitution, including but not limited to the application of 17 U.S.C § 512(i)

                to service providers protected by 17 U.S.C § 512(a).

         12.    Application of the Copyright Act and its remedies to the conduct of Defendant and

                its customers as Plaintiffs request would violate due process.

         13.    To the extent that Plaintiffs can establish any underlying direct or secondary

                infringement, Defendant’s liability and Plaintiffs’ remedies are limited because

                Defendant qualifies for “safe harbor” under the Digital Millennium Copyright Act

                (“DMCA”) 17 U.S.C. § 512(a).

                  COUNTERCLAIMS AND DEMAND FOR JURY TRIAL;
                         INJUNCTIVE RELIEF SOUGHT


         Defendant Bright House Networks, LLC (“Bright House” or “Defendant”), by and through

   its counsel, hereby asserts counterclaims to Plaintiffs’ First Amended Complaint against




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   Plaintiffs6, the Recording Industry Association of America (“RIAA”), and MarkMonitor, Inc.

   (“MarkMonitor”) (collectively “Counter-Defendants”) as follows:

   1.     Introduction

          1.      At all times relevant to this case, Bright House was an Internet service provider

   (“ISP”) providing its customers access to the Internet. As part of its ISP services, Bright House

   did not store its subscribers’ content on its servers. Bright House did not host websites that index

   infringing files. Bright House did not create or distribute peer-to-peer file-sharing software or other

   file-sharing software. Bright House was not even aware that the alleged acts of infringement were

   committed until after they had concluded. Nevertheless, Plaintiffs seek to impose secondary

   liability on Bright House for alleged copyright infringement by its subscribers—even though

   Bright House’s only role in the alleged infringement was to provide Internet access to these

   subscribers—in an effort to create a substantial new set of liabilities and burdens for ISPs.

          2.      The RIAA is a New York corporation with its principal place of business at 1025

   F Street NW, 10th Fl., Washington, DC 20004.

          3.      MarkMonitor is a Delaware corporation with its principal place of business at 3540

   E Longwing Ln. Suite 300, Meridian, ID 83646.

          4.      This Court has subject matter jurisdiction over Bright House’s counterclaims

   pursuant to 28 U.S.C. §§ 1331, 1338(a), and 1367.

          5.      This Court has personal jurisdiction over Plaintiffs because Plaintiffs brought this

   action in this Court and thereby consented to its jurisdiction.




   6
     The “Plaintiffs” are the Plaintiffs collectively identified and defined on pages 1-2 of Plaintiffs’
   First Amended Complaint, Dkt. 96-1. Unless otherwise noted, Bright House also adopts all of the
   terms defining the parties used in Plaintiffs’ First Amended Complaint.

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          6.      This Court has personal jurisdiction over the RIAA pursuant to Fla. Stat. § 48.193.

   The RIAA has continuously and systematically transacted business in Florida. The RIAA has

   engaged in substantial activities purposefully directed at Florida from which Bright House’s claims

   arise, including by sending or directing others to send notices of infringement to Bright House

   concerning its high-speed Internet service provided to customers in Florida.

          7.      This Court has personal jurisdiction over MarkMonitor pursuant to Fla. Stat.

   § 48.193. MarkMonitor has continuously and systematically transacted business in Florida.

   MarkMonitor has engaged in substantial activities purposefully directed at Florida from which

   Bright House’s claims arise, including by sending notices of infringement to Bright House

   concerning its high-speed Internet service provided to customers in Florida.

          8.      Venue is proper in this district because Plaintiffs brought this action in this Court

   and thereby consented to venue and because a substantial part of the events and omissions giving

   rise to the claims against Plaintiffs, the RIAA, and MarkMonitor occurred in this district, and

   because Plaintiffs, the RIAA, and MarkMonitor are subject to personal jurisdiction in this district.

   2.     Factual Allegations

          a.      Bright House’s Business

          9.      Prior to its acquisition by Charter Communications, Inc. (“Charter”) in or around

   June, 2016, Bright House was one of the largest communications companies in the country,

   offering a variety of services, including cable, telephone, and Internet access services.

          10.     Bright House provided Internet service to both residential subscribers and

   businesses. Its high-speed Internet service provided approximately 2.2 million U.S. customers with

   Internet connections in Southern, Midwestern, and Western states. Today, Charter continues to




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   serve Bright House’s customers under the Spectrum brand, offering high-speed Internet service to

   some twenty-nine million U.S. customers across 41 states.

          11.     As an ISP, Bright House provided its customers with a gateway to the Internet,

   which was, and still is, virtually indispensable to functioning in the modern world.

          12.     The Internet provides access to a host of services, some of them critical. Individuals

   rely on Internet access to obtain services in the areas of healthcare, employment, education,

   banking, commerce, social interaction, news and entertainment, and many others.

          13.     As the Supreme Court recently emphasized in the case of Packingham v. North

   Carolina, for many people the Internet provides “the principal sources for knowing current events,

   checking ads for employment, speaking and listening in the modern public square, and otherwise

   exploring the vast realms of human thought and knowledge.” 137 S. Ct. 1730, 1737 (2017).

          14.     The critical importance of the Internet has been highlighted in the current COVID-

   19 global pandemic. With much of the country currently under some form of shelter in place

   directive or order, millions of people across the country are reliant on high speed Internet access

   to work, attend classes, receive news and information, and socialize and communicate with friends

   and family.

          15.     Losing Internet access can have devastating consequences for a subscriber.

          16.     As an ISP, Bright House provided connections and enabled connected computers

   to access the Internet.

          17.     Bright House provided Internet access service to its residential subscribers for a flat

   monthly fee.

          18.     Bright House could not remove third-party material from the Internet unless that

   material was stored on Bright House’s own servers. Bright House subscribers were not able to



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   store material on Bright House’s own servers. Bright House could not control what its customers

   stored on their own or others’ computers.

          19.     Bright House had no ability to remove or take down infringing content from its

   customers’ computers. Bright House could not restrict, or even detect, the specific content that its

   customers accessed or shared.

          20.     Bright House could not supervise the online activities of its customers. Nor could

   Bright House control its customers’ conduct online. While Bright House could potentially have

   disabled its customers’ ability to access its ISP system, or terminated customers’ accounts entirely,

   that did not give Bright House the ability to control or supervise its customers’ conduct online. For

   example, a Bright House subscriber could have continued to access the Internet through other

   accounts, or through public networks.

          21.     Bright House also could not determine whether one of its subscribers was accessing

   Bright House’s network, or whether someone else was using the Bright House subscriber’s account

   (with or without the subscriber’s knowledge or permission) to do so.

          22.     Bright House did not control the Internet. And, while Bright House’s ISP system

   allowed its subscribers to access the Internet, Bright House’s system was not itself “the Internet.”

          23.     The privacy of its customers was, and remains, of paramount concern to Bright

   House and its successor, Charter. Internet users frequently transmit private and sensitive

   information through ISP networks, and trust their ISP to safeguard their privacy and security.

          24.     Bright House did not (and Charter does not) spy on its customers or monitor their

   Internet traffic. Even if it could have done so—which it could not—it would not. Engaging in

   surveillance in such a fashion would have violated Bright House’s policies, ethics, and corporate

   culture.



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          25.        Operating an ISP service—and safeguarding customers and other Internet users—

   entails responding to a number of potential abuses such as security threats, invasion of privacy,

   identity theft, denial of service attacks, botnets or other malware (such as viruses, spyware, and

   worms), spam, fraud, phishing scams, copyright infringement, and a host of others.

          26.        Bright House’s Security and Abuse Team managed issues like these that threaten

   Bright House’s network or customers, as well as other abuses of Bright House’s system. This team

   was tasked with protecting Bright House’s customer-facing networks and services by assessing

   and responding to security threats and attacks, and coordinating threat-mitigation activities with

   the appropriate organizations and external agencies to ensure a safe and secure communications

   infrastructure.

          27.        Among other things, Bright House’s Security and Abuse Team assisted law

   enforcement and cooperated with other ISPs to combat security and privacy threats; addressed

   internal security issues; assisted customers; and processed copyright infringement notices that

   Bright House received from copyright owners and their agents.

          b.         Bright House’s Receipt of Copyright Infringement Notices

          28.        When Bright House received a copyright infringement notice alleging copyright

   infringement had occurred, it reviewed the notice to ensure that it complied with Bright House’s

   policies. Among other things, Bright House required the sender of a copyright infringement notice

   to identify the copyrighted work claimed to have been infringed and to identify the material that

   is claimed to be infringing. Copyright infringement notices also had to comply with Bright House’s

   other policies, including its privacy policy.

          29.        Bright House reserved the right to terminate subscribers and account holders who

   repeatedly infringed copyrights, and Bright House’s policy was to terminate repeat infringers when



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   Bright House deemed it appropriate to do so. Bright House informed its subscribers and account

   holders of this policy.

           30.     Bright House could not verify the allegations in infringement notices that it

   received. In particular, Bright House could not verify whether the information in a notice was

   accurate.

           31.     Bright House could not itself detect infringement, and could not determine whether

   infringing content was crossing its network. Bright House could not control, examine, or remove

   material that was on its subscribers’ computers. Even if it could have done so, that would have

   violated Bright House’s policies and violated its users’ privacy.

           32.     Copyright infringement notices that Bright House received for its ISP service

   always referred to acts of alleged infringement that occurred in the past. Bright House could not

   examine the material a customer allegedly made available in the past, detect what the customer

   did with that material, or know whether a subscriber was authorized to possess, reproduce, or

   distribute that material.

           33.     Bright House could not confirm whether the sender of a notice actually owned the

   copyright for an allegedly infringed work, nor whether the sender was authorized to send notices

   on behalf of the true owner. Bright House could not determine the true owner of the copyright for

   an allegedly infringed work.

           34.     Bright House could not control alleged infringement on the Internet. Bright House

   could not supervise or control what its customers store on their computers, and could not locate,

   view, or remove any content that its customers might be uploading, downloading, or accessing

   through its ISP service.




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          35.     With respect to business customers, terminating an account would have severed

   Internet access for multiple end-users, even if the vast majority of them were innocent of

   infringement. This was particularly the case with business customers that might be regional or

   local ISPs, through which hundreds, thousands, or even tens or hundreds of thousands of

   potentially innocent end-users’ Internet access could be severed due to the alleged acts of a single

   end-user.

          c.      Bright House’s Abuse Tracking System

          36.     In this case, Plaintiffs seek relief for claims of infringement that accrued from

   March 24, 2013 through May 17, 2016 (the “Claim Period”).7

          37.     During the Claim Period, Bright House received different types of notifications

   concerning its ISP system. This included security notices, notices about system issues, copyright

   infringement notices, and others.

          38.     Prior to and throughout the Claim Period, Bright House utilized a system called

   “ECATS” — the Enterprise Copyright Automation Tools System—to partially automate the

   handling of abuse notifications that Bright House receives. Among other things, Bright House’s

   Security and Abuse Team used ECATS as a tool for processing and addressing copyright

   infringement notices. This allowed Bright House to process, respond to, and to address such

   notices more efficiently.

          39.     Automation is important, because manual processing of incoming abuse complaints

   is infeasible for all but the smallest ISP networks in light of the automated techniques used by



   7
     Plaintiffs allege in the First Amended Complaint that “the Universal Plaintiffs seek relief for
   claims that accrued on or after March 24, 2013; the Sony Music Plaintiffs and Warner Plaintiffs
   seek relief for claims that accrued on or after April 18, 2013; and the Sony/ATV and EMI Plaintiffs
   seek relief for claims that accrued on or after June 15, 2013.” Dkt. 96-1, ¶ 5 n.1.

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   spammers that generate a high volume of abuse complaints. Automation also decreases the risk

   that complaints from copyright owners could get lost in the flood of other abuse complaints.

          40.        ECATS converted copyright infringement notices that meet Bright House’s basic

   requirements into “tickets.” ECATS also stored a copy of the copyright notices received (if any)

   per subscriber.

          41.        Accepting and processing notices is both time-consuming and costly, requiring

   multiple systems and numerous personnel to work in coordination. Bright House incurred costs in

   connection with undertaking these actions, as well.

          42.        During the Claim Period, Bright House processed notices from the RIAA, which

   were sent by MarkMonitor, purporting to assert rights owned by Plaintiffs, in accordance with its

   policies and ECATS procedures, and forwarded those notices to accused subscribers, reminding

   them that infringing copyright violates Bright House’s Acceptable Use Policy and emphasizing

   that they should take immediate action to stop the exchange of any infringing material.

          d.         The Copyright Alert System (CAS)

          43.        In July 2011, all of the major record companies and movie studios, along with their

   industry representatives, the RIAA, and the Motion Picture Association of America (“MPAA”),

   and five of the largest ISPs in the United States collectively entered into the Copyright Alert

   System Memorandum of Understanding (“CAS MOU”) to establish a “Copyright Alert System”

   (the “CAS”).

          44.        Under the CAS, signatory content owners or their representatives, which included

   the RIAA and MPAA, could send notices of alleged copyright infringement (“ISP Notices”) to

   ISPs. The ISPs would accept and process the ISP Notices.




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          45.        If an ISP received an ISP Notice that could be associated with the account of a

   particular ISP subscriber, then the ISP would send a notification—called a Copyright Alert—to

   the subscriber.

          46.        Under the CAS MOU, participating ISPs were required to accept and process only

   a limited volume of ISP Notices. The CAS MOU also provided that a participating ISP could

   temporarily cease processing ISP Notices if it received more than its business processes and

   systems could reasonably address.

          47.        After an ISP had forwarded six Copyright Alerts to a single subscriber, the ISP was

   not required to forward any subsequent Copyright Alerts, regardless of the fact that the subscriber

   might be the subject of multiple, subsequent infringement notices.

          48.        Further, an ISP was not required to forward more than one Copyright Alert to a

   single subscriber within a seven-day grace period, to give an affected subscriber time to review

   each Copyright Alert pertaining to such subscriber’s account and to take appropriate steps to avoid

   receipt of further Copyright Alerts.

          49.        The participating ISPs were required to track the number of notices their

   subscribers received so that the information could be provided to the content owners (or their

   representatives), so that the content owners could institute infringement actions directly against

   the subscribers—not the ISPs.

          50.        The CAS did not require ISPs to terminate subscribers who were repeatedly

   accused of infringement.

          51.        At least some of Plaintiffs are, and during the Claim Period were, well aware of the

   provisions of the CAS MOU.




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          52.     On information and belief, all of the Warner Plaintiffs are, or during the Relevant

   Time Period were, affiliates, subsidiaries, or successors of signatories to the CAS MOU.

          53.     On information and belief, all of the Sony Music Plaintiffs are, or during the

   Relevant Time Period were, affiliates, subsidiaries, or successors of signatories to the CAS MOU.

          54.     On information and belief, all of the Sony/ATV and EMI Plaintiffs are, or during

   the Relevant Time Period were, affiliates, subsidiaries, or successors of signatories to the CAS

   MOU.

          55.     On information and belief, all of the Universal Plaintiffs are, or during the Relevant

   Time Period were, affiliates, subsidiaries, or successors of signatories to the CAS MOU.

          56.     The RIAA was a signatory to the CAS MOU.

          57.     On information and belief, all of the Record Company Plaintiffs were members of

   the RIAA during the Relevant Time Period or were affiliates, subsidiaries, or partners of RIAA

   members.8

          58.     Bright House was also aware of the CAS MOU during the Relevant Time Period;

   however, Bright House was not a signatory to the CAS MOU.

          59.     On information and belief, one goal of the CAS MOU was to establish industry

   standard practices for entertainment industry copyright owners to submit copyright infringement

   notices to ISPs, and for ISPs to process such notices and inform their subscribers of infringement

   allegations against them.




   8
    The “Record Company Plaintiffs” are UMG, Capitol Records, WRI, Atlantic, Bad Boy, Elektra,
   FBR, Nonesuch, Maverick, Rhino, The All Blacks, Warner Music, Warner Records/SIRE, WEA,
   Sony, Arista Music, Arista Records, LaFace, Provident, Sony Latin, Century, Volcano, and
   Zomba, as defined in Paragraph 36 of Plaintiffs’ First Amended Complaint, Dkt. 96-1, ¶ 36.

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           60.     Content owners participating in the CAS MOU (including some of Plaintiffs here)

   and participating ISPs (including SBC Internet Services, Verizon Online, Comcast Cable

   Communications Management, CSC Holdings, and Time Warner Cable) established the Center

   for Copyright Information (the “CCI”).

           61.     An express goal of the CCI was “facilitating the involvement of non-participating

   ISPs in … the Copyright Alert program.”

           62.     In May 2014, RIAA Chairman and CEO Cary Sherman described the CCI as “a

   model for success.”9 Mr. Sherman lauded “the Alert program and all its accomplishments.” He

   stated that the CAS was “moving the needle,” and acknowledged that as the CAS program

   progressed, “there were fewer and fewer Alerts sent at each level.”

           63.     Further, early reports note that merely sending notices had a meaningful impact on

   reducing infringement, as evidenced by the fact that fewer subscribers continued to receive

   subsequent alerts. Further, the CCI believed that the program would be effective against the vast

   majority of subscribers engaged in on-line infringement and that “very few subscribers, after

   repeated alerts, will persist (or allow others to persist) in the content theft.”

           64.     Importantly, the CAS MOU required that the ISPs provide data to the content

   owners and/or their representatives, so that the participants could assess the effectiveness of the

   program.

           e.      Plaintiffs Withdrawal of Works for Which They Sent Copyright Infringement
                   Notices to Bright House

           65.     Upon information and belief, the Record Company Plaintiffs claim to own or

   control the vast majority of music sold in the United States.


   9
     Cary Sherman, “CCI: A Model for Success,” RIAA.com (May 28, 2014) (available online at
   https://www.riaa.com/cci-a-model-for-success/).

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           66.    The Record Company Plaintiffs, through their agent the RIAA, engaged the

   services of rights-enforcement company MarkMonitor to monitor and detect infringing activity

   and send notices alleging copyright infringement to Bright House. MarkMonitor markets itself as

   an “antipiracy solution.”

           67.    On March 22, 2019, Plaintiffs sued Bright House for contributory infringement and

   vicarious liability, alleging that Bright House’s subscribers had infringed the copyrights of at least

   11,482 sound recordings and music compositions (the “works in suit”). The works in suit are listed

   on Exhibits A and B to Plaintiffs’ Original Complaint. Dkts. 1-1 (Ex. A) & 1-2 (Ex. B).

           68.    In connection with these allegations, Plaintiffs claimed that they “own and/or

   control in whole or in part the copyrights and/or exclusive rights” in the works in suit. Dkt. 96-1,

   ¶ 71.

           69.    In connection with these allegations, Plaintiffs claimed that between March 24,

   2013 and May 17, 2016, their “representatives … sent hundreds of thousands of statutory

   infringement notices to Bright House, under penalty of perjury,” claiming that Bright House’s

   subscribers infringed the works in suit. Dkt. 96-1, ¶ 2. The Music Publisher Plaintiffs10 did not

   send any notices, however, as the notices were sent by MarkMonitor and on behalf of the Record

   Company Plaintiffs’ representative, the RIAA.




   10
     The “Music Publisher Plaintiffs” are Plaintiffs UMC, MGB, Universal Music Publishing, AB,
   Publishing Limited, MGB Limited, Z Tunes, MCA Limited, MCA Publishing Limited, Music
   Corp., Musik Edition, Polygram Publishing, Songs of Universal, Warner Chappell, Warner-
   Tamerlane, WC Music, W.C.M., Unichappell, Rightsong Music, Cotillion, Intersong, Chappell,
   Sony/ATV, EMI Al Gallico, EMI April, EMI Blackwood, EMI Colgems, EMI Full Keel, EMI
   Longitude, EMI Entertainment, EMI Jemaxal, EMI Feist, EMI Miller, EMI Mills, EMI U, Famous
   Music, Jobete, Stone Agate, Gems-EMI, and Stone, as defined in Paragraph 69 of Plaintiffs’ First
   Amended Complaint. Dkt. 96-1, ¶ 69.

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           70.     On February 15, 2020, Plaintiffs amended the list of works in suit, removing over

   280 works from this case (the “Dropped Works”).

           71.     The Record Company Plaintiffs dropped 132 sound recordings and the Music

   Publisher Plaintiffs dropped 151 music compositions.

           72.     Upon information and belief, Plaintiffs dropped at least some of these works

   because, contrary to their allegations, they do not “own and/or control in whole or in part the

   copyrights and/or exclusive rights” to the works.

           73.     Upon information and belief, Plaintiffs dropped at least some of these works

   because, contrary to their allegations, Bright House subscribers did not infringe the works

   identified in the notices.

           74.     For many of the Dropped Works, the claimant listed on the U.S. Copyright Office

   registration certificate is an entity other than the formerly asserting Plaintiff. Based on review of

   other publicly available information, these claimant entities appear independent from the formerly

   asserting Plaintiff. On information and belief, each of the Plaintiffs who formerly asserted claims

   for Dropped Works sent infringement notices for those Dropped Works despite lacking the right

   to do so.11




   11
     The following Record Company Plaintiffs formerly asserted claims for Dropped Works: Arista
   Music; Atlantic Recording Corporation; Elektra Entertainment Group Inc.; Sony Music
   Entertainment; UMG Recordings, Inc.; and WEA International Inc. In addition, the following
   Music Publisher Plaintiffs formerly asserted claims for Dropped Works: EMI April Music Inc.;
   EMI Blackwood Music Inc.; Polygram Publishing, Inc.; Rightsong Music Inc.; Songs of Universal,
   Inc.; Sony/ATV Music Publishing LLC; Unichappell Music Inc.; Universal Music - MGB NA
   LLC; Universal Music - Z Tunes LLC; Universal Music Corp.; Universal Music Publishing
   Limited; Universal Music Publishing Inc.; W.B.M. Music Corp.; Warner-Tamerlane Publishing
   Corp.; and WB Music Corp.

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           75.     On information and belief, Plaintiffs dropped these works only after it became clear

   that they would be required to produce documentation relating to their purported ownership or

   ability to assert the works in suit in this case.

           76.     Despite later dropping these works, the Record Company Plaintiffs, the RIAA, and

   MarkMonitor nevertheless sent notices to Bright House in connection with the Dropped Works,

   each claiming to “have identified a user … reproducing or distributing an unauthorized copy of a

   copyrighted sound recording,” and stating that the recipient of the notice “may be liable for

   infringing activity occurring” on Bright House’s network. The Record Company Plaintiffs, the

   RIAA, and MarkMonitor further claimed in their notices that the targeted user’s “Internet account

   was used to illegally copy and/or distribute copyrighted music over the Internet” and that the notice

   contained “the details of the illegal file-sharing, including the time, date, and a sampling of the

   music shared.” The notices “assert that the information in the notice is accurate” and that the sender

   had “a good faith belief that this activity is not authorized by the copyright owner, its agent, or the

   law.” The notices further stated “[u]nder penalty of perjury” that “the RIAA is authorized to act

   on behalf of its member companies in manners involving the infringement of their sound

   recordings, including enforcing their copyrights and common law rights on the Internet.”

           77.     While the Music Publisher Plaintiffs did not send any notices for the music

   compositions in suit to Bright House, the Music Publisher Plaintiffs’ infringement claims in this

   case purportedly rely on notices sent by the Record Company Plaintiffs to Bright House, including

   those for the Dropped Works.

           78.     The Record Company Plaintiffs, the RIAA, and MarkMonitor sent notices to Bright

   House with inaccurate information, including but not limited to the misrepresentation that the

   RIAA was authorized on behalf of Plaintiffs to send a notice relating to these allegedly infringed



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   works, that the Record Company Plaintiff on whose behalf the notice was sent owned or controlled

   the work, and that the actions alleged to have been taken by Bright House’s subscribers constituted

   infringement of the Record Company Plaintiffs’ rights.

          79.     Upon information and belief, the Record Company Plaintiffs did not own the

   Dropped Works when they sent notices for them.

          80.     Upon information and belief, the Record Company Plaintiffs did not have the right

   to send notices to Bright House for the Dropped Works.

          81.     Upon information and belief, Plaintiffs, the RIAA, and MarkMonitor, as a matter

   of practice, do not confirm whether Plaintiffs “own and/or control in whole or in part the copyrights

   and/or exclusive rights” to works before notices are sent to ISPs, like Bright House.

          82.     Upon information and belief, Plaintiffs, the RIAA, and MarkMonitor, as a matter

   of practice, do not confirm the files identified by MarkMonitor as allegedly infringing are in fact

   copies of the works asserted before investigating whether subscribers of ISPs possess such files

   and before notices are sent to ISPs, like Bright House.

          83.     Upon information and belief, Plaintiffs, the RIAA, and MarkMonitor, routinely fail

   to confirm that the files identified by MarkMonitor as allegedly infringing are in fact copies of the

   works asserted before notices are sent to ISPs, like Bright House.

          84.     After Plaintiffs identified the works in suit, including the Dropped Works, Bright

   House investigated Plaintiffs’ purported ownership or control of the Dropped Works, or whether

   the Record Company Plaintiffs otherwise had the right to send notices to Bright House for them.

          85.     Many of the same record companies and music publishers that are Plaintiffs in this

   case pursued damages in Sony Music Entertainment et al. v. Cox Communications, Inc. et al., Case

   No. 1:18-cv-950 (LO/JFA) (E.D. Va.) (“Sony/Cox”) for certain of the Dropped Works. The jury



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   in the Sony case returned a verdict for certain of the Dropped Works in an amount of nearly

   $100,000 per work.

          86.     Yet for many other Dropped Works that had also originally been asserted in

   Sony/Cox, Plaintiffs did drop those works before that case went to trial, further demonstrating

   Plaintiffs’ belief that they did not possess the right to assert infringement claims—or the

   concomitant right to send notices of claimed infringement—for these Dropped Works.

          87.     Many of the same record companies and music publishers that are Plaintiffs in this

   case are also plaintiffs in Warner Records Inc. et al. v. Charter Communications, Inc., Case No.

   1:19-cv-00874-RBJ-MEH (D. Colo.) (“Warner/Charter”). There is substantial overlap in the

   works asserted in that case and in this case. Further, in early January, 2020, the plaintiffs in

   Warner/Charter also dropped a number of asserted works from that case, including many of the

   same Dropped Works in this case.

          88.     In the Warner/Charter case, the plaintiffs’ counsel (who is also counsel for

   Plaintiffs here) could not confirm to the Court either that the Sony/Cox plaintiff record companies

   and music publishers owned or controlled all of the works at issue in that case (including works

   that had been dropped from the Warner/Charter case, but for which the Sony/Cox jury had awarded

   nearly $100,000 per work), or that one of the Sony/Cox plaintiffs was the correct legal entity to

   obtain an award of statutory for each of those works.

          89.     Upon information and belief, Plaintiffs devote substantial resources to protecting

   and exploiting the copyrights they claim to own or control.

          90.     Plaintiffs, the RIAA, and MarkMonitor knew that the copyright infringement

   notices sent to ISPs, including Bright House, contained false allegations of infringement at the

   time the notices were sent and/or deliberately avoided confirming a high probability that the



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   copyright infringement notices sent to ISPs, including Bright House, contained false allegations of

   infringement prior to the notices being sent.

          91.     In the alternative, and at a minimum, Plaintiffs, the RIAA, and MarkMonitor should

   have known that the copyright infringement notices sent to ISPs, including Bright House,

   contained false allegations of infringement prior to the notices being sent.

          92.     A partial list of notices that Bright House alleges contained material

   misrepresentations is attached as Exhibit A.

          93.     Plaintiffs, the RIAA, and MarkMonitor sent millions of notices to ISPs during the

   Claim Period, including hundreds of thousands of notices to Bright House.

          94.     Bright House could not have discovered that the notices for the Dropped Works

   were inaccurate until February 15, 2020, after Plaintiffs dropped the Dropped Works from this

   case and Bright House analyzed Plaintiffs’ notice data.

          95.     Bright House could not have discovered that other notices contained material

   misrepresentations, because they named works that had not been infringed, until Bright House

   obtained discovery from Plaintiffs and third parties in this case.

          f.      The Unreliability of The Copyright Infringement Notices

          96.     Notices of alleged copyright infringement, such as those sent by MarkMonitor, on

   behalf of the RIAA, purporting to assert rights owned by Plaintiffs, can be unreliable.

          97.     Academic studies have demonstrated that copyright infringement notices sent by

   third parties to online service providers can be unreliable and are prone to error.

          98.     For example, a 2016 study examined a sample of 288,675 copyright infringement

   notices that were sent to online service providers between May 1, 2013 and October 31, 2013 (the




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   “Study Period”). Jennifer Urban, et al., Notice and Takedown in Everyday Practice (2016) (“Urban

   Study”).12

           99.     The Urban Study found that 4.2% of the infringement claims examined “were

   fundamentally flawed because they targeted content that clearly did not match the identified

   infringed work.” Id. at 88. In addition, 28.4% of notices that the Urban Study examined “had

   characteristics that raised clear questions about their validity,” including notices with “multiple

   potential issues.” Id.

           100.    Because some notices in the sample set for the Urban Study contained multiple

   requests, these notices together represented over 100 million claims of infringement. Id.

           101.    The RIAA sent notices that were included in the sample that the Urban Study

   analyzed.

           102.    MarkMonitor sent notices that were included in the sample that the Urban Study

   analyzed.

           103.    The Urban Study also discussed specific instances in which notices sent by

   MarkMonitor were “clear mismatches” between the allegedly infringed work and the online

   content that was allegedly infringing. Id. at 92.

           104.    The Urban Study also identified MarkMonitor as having sent tens of thousands of

   notices during the Study Period alleging infringement by file-sharing websites that had been “dead

   more than 18 months.” Id. at 89-90.




   12
      Available online at
   https://papers.ssrn.com/sol3/Delivery.cfm/SSRN_ID2938642_code1788303.pdf?abstractid=2755
   628&mirid=1 (last visited March 11, 2020).

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          105.   Multiple news stories, including stories from the time period covered by Plaintiffs’

   copyright infringement allegations, reported errors in notices sent by MarkMonitor to online

   service providers. For example, in February and March 2013, multiple news stories highlighted

   instances in which MarkMonitor (under the name Dtecnet, a division of MarkMonitor) had sent

   erroneous copyright infringement notices to online service providers.

          106.   A February 3, 2013 news story reported that Dtecnet, a division of MarkMonitor,

   had sent copyright infringement notices to Google, alleging that HBO’s own website contained

   infringing copies of HBO’s copyrighted content. See Ernesto Van der Sar, “HBO Wants Google

   to censor HBO.com,” TorrentFreak (February 3, 2013).13

          107.   A March 1, 2013 news story reported that Dtecnet, a division of MarkMonitor, had

   misidentified a modified version of an online game as a television show, resulting in issuance of

   multiple inaccurate copyright infringement notices. See Masnick, Mike, “System Used By New

   Six Strikes CAS, Falsely Identifies Game Mods As NBC TV Shows,” TechDirt.com (Mar. 1,

   2013).14

          108.   MarkMonitor was also the rights-enforcement organization that the CCI employed

   to detect instances of alleged infringement and send ISP Notices in connection with the CAS.

          109.   In 2012, the CCI hired the firm Stroz Friedberg to perform an assessment of

   MarkMonitor’s technology in connection with the CAS.




   13
     Available online at https://torrentfreak.com/hbo-wants-google-to-censor-hbo-com-130203/ (last
   visited March 11, 2020).
   14
     Available online at https://www.techdirt.com/articles/20130224/22341022086/system-used-
   new-six-strikes-cas-falsely-identifies-game-mods-as-nbc-tv-shows.shtml (last visited March 11,
   2020).

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          110.     Stroz Friedberg had been retained by the RIAA as a lobbying firm from 2004

   through 2009.

          111.     The Stroz Friedberg assessment contained six recommendations that “focused on

   improving the accuracy and reliability” of MarkMonitor’s processes.

          112.     Stroz Friedberg further explained that MarkMonitor generates notices for allegedly

   infringing files before it has verified those files as authentic. MarkMonitor stated that this process

   results in the collection of thousands of files that are later determined to be not infringing.

   MarkMonitor also stated that this process increases the chances that notices will be generated for

   non-infringing files.

          113.     Specifically, the RIAA hired a company called Audible Magic to verify that the

   allegedly infringing files matched copyrighted works owned by the Record Company Plaintiffs.

   However, documents produced by MarkMonitor and Audible Magic show that notices were sent

   to Bright House before they were verified by Audible Magic, that MarkMonitor had a low rate of

   matched works among the works submitted for verification, and that a large percentage of the

   notices sent by MarkMonitor were not supported by Audible Magic verification.

          114.     After it was reported that Stroz Friedberg had been a lobbyist for the RIAA between

   2004 and 2009, the CCI hired a second consulting firm, Harbor Labs, to conduct another review

   of MarkMonitor’s system.

          115.     Harbor Labs did not analyze MarkMonitor’s system directly but relied on test

   results conducted previously by Stroz Friedberg as part of its assessment in 2012.

          116.     On December 5, 2012, Harbor Labs released its evaluation, in which it stated that

   MarkMonitor should undergo consistent and regular end-to-end and unit testing, improve its

   verification approaches, and improve its controls over employee access to sensitive data.



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              117.   Specifically, Harbor Labs noted that MarkMonitor does not maintain any precision-

   relevant metrics on its live system. In other words, except in the event that a recipient of a notice

   complains that the notice is inaccurate, MarkMonitor does not maintain any data confirming that

   its notices are accurate.

              118.   On information and belief, Plaintiffs have not directly sued providers of P2P

   software, and/or companies or individuals who host, index, or link to infringing copies of the works

   in suit.

              119.   On information and belief, Plaintiffs have not sued any individual direct infringers

   for the infringements they allege here.

              g.     Counter-Defendants’ Rampant and Deceptive Enforcement Conduct

              120.   MarkMonitor, on behalf of the RIAA, purporting to assert rights owned by

   Plaintiffs, sent notices of alleged copyright infringement, including during the Claim Period, for

   works Plaintiffs do not own or otherwise have the right to enforce, and for actions that were not

   infringing.

              121.   The Record Company Plaintiffs, along with the RIAA, have engaged in a decades-

   long campaign against consumers, threatening expensive, time-consuming litigation, and wielding

   the prospect of outsized and disproportionate statutory damages.

              122.   For example, between approximately 2004 and 2009, the record industry initiated

   over 30,000 lawsuits against individuals who were alleged to have downloaded music on peer-to-

   peer networks. Many of these individuals were forced to settle their suits out of fear, as one court

   observed:




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                  There is a huge imbalance in these cases. The record companies are
                  represented by large law firms with substantial resources. The law
                  is also overwhelmingly on their side. They bring cases against
                  individuals, individuals who don’t have lawyers and don’t have
                  access to lawyers and who don’t understand their legal rights.

                  Some category of individuals are defaulted because they read the
                  summons, and they haven’t the foggiest idea what it means and
                  don’t know where to go, so they’re defaulted, and they owe money
                  anywhere from $3,000 to $10,000 as a result of these defaults.15

          123.    The Record Company Plaintiffs, through the RIAA, exploit and leverage this

   imbalance of knowledge and resources in order to extract settlements from the consuming public.

   Upon information and belief, in order to do so, the Record Company Plaintiffs and/or the RIAA

   exploit sound recordings beyond their legal entitlement.

          124.    The Record Company Plaintiffs’ practices also target ISPs, like Bright House,

   whose subscribers were and are consumers of Plaintiffs’ goods.

          125.    As an ISP, Bright House received notices sent by MarkMonitor, on behalf of the

   RIAA, purporting to assert rights owned by Plaintiffs, and, in turn, passed them on to its

   subscribers. In certain circumstances, the subscribers questioned the veracity of the notices. As a

   result, Bright House bore the cost and burden of processing the notices and engaging with its

   subscribers to address these and other issues as a result of the actions of Plaintiffs, RIAA and

   MarkMonitor. To the extent the notices that Bright House forwarded to its subscribers contained

   inaccurate allegations of copyright infringement, Bright House suffered harm to its reputation and

   lost the goodwill of its subscribers.

          126.    To the extent Bright House’s subscribers received notices alleging incorrectly that

   they infringed copyrights, they were harmed by being forced to review and respond to such notices.


   15
     Capitol Records, Inc. et al. v. Noor Alaujan, et al., Case No. 03-11661-NG (D. Mass.), June 7,
   2008 Mot. Hr’g Tr. at 8:14-25.

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   In addition, subscribers were harmed because the inaccurate allegations against the subscribers

   contained in the false notices became part of the record of each accused subscriber’s account

   maintained by Bright House. Bright House bases corrective actions it takes against subscribers—

   including termination of their Internet access—on subscribers’ record of alleged past

   transgressions.

          h.         The Works in Suit Constitute a Small Percentage of Each Plaintiff’s Catalogue

          127.       Plaintiffs allege that they collectively own or control the vast majority of music

   exploited in the United States, if not the world.

          128.       Upon information and belief, Plaintiffs collectively own or control many millions

   of works. Yet in this case, they collectively only assert the alleged infringement of 7,271 works.

          129.       For example, of the 63 individually named Plaintiffs, approximately 47 (75%)

   assert fewer than 100 works each.16 Many of these Plaintiffs assert only a handful of works and,

   in some cases, all from the same album(s) and/or recording artist(s).

          130.       Even the Plaintiffs that assert the highest numbers of works in suit—i.e., UMG

   Recordings, Inc. (approx. 1,476), Sony Music Entertainment (approx. 1,419), and WC Music Corp.

   (approx. 513)—assert infringement of only a very small percentage of the total number of works

   that each of those Plaintiffs owns or controls.

          131.       Based on the foregoing, it is clear that Plaintiffs are suing on only a small

   percentage of the total number of works that each owns or controls.




   16
     Four of the Music Publisher Plaintiffs (Chappell & Co. Inc.; EMI Al Gallico Music Corp.; EMI
   Jemaxal Music Inc.; Musik Edition Discoton GmbH; Universal Music Publishing Inc.) apparently
   assert no works after Plaintiffs amended their Exhibits, though it appears that these entities are still
   named Plaintiffs in the First Amended Complaint. See ECF 96-1. If these entities are removed
   from the calculation, it leaves 43 of 59 Plaintiffs, or 73%, that assert fewer than 100 works.

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          132.    Of this small percentage of works owned or controlled by each Plaintiff asserted in

   this case, upon information and belief, Plaintiffs have not elected to only sue for infringement of

   their most popular works.

          133.    Of this small percentage of works owned or controlled by each Plaintiff asserted in

   this case, upon information and belief, Plaintiffs have not elected to only sue for infringement of

   their most profitable works.

          134.    Of this small percentage of works owned or controlled by each Plaintiff asserted in

   this case, upon information and belief, Plaintiffs have not elected to only sue for infringement of

   their works that were allegedly infringed most frequently during the Claim Period.

          135.    Plaintiffs instead elected to sue for infringement of those works for which they

   claim a Bright House subscriber infringed after that subscriber was the subject of “multiple” prior

   infringement notices received by Bright House, as they allege. See, e.g., First Amended Complaint,

   ¶¶ 5, 8, 96, 105.

                                             CLAIM ONE

           VIOLATION OF DMCA SECTION 512(f) FOR KNOWINGLY SENDING
          MATERIALLY INACCURATE NOTICES OF ALLEGED INFRINGEMENT

          136.    Bright House repeats the allegations in Paragraphs 1 through 135 and incorporates

   them here.

          137.    Upon information and belief, during the Claim Period, MarkMonitor, on behalf of

   the RIAA, which purported to assert rights owned by Plaintiffs sent copyright infringement notices

   to Bright House that contained inaccurate information, including but not limited to the

   misrepresentation that the RIAA was authorized on behalf of the Record Company Plaintiffs to

   send a notice relating to these allegedly infringed works, that the Record Company Plaintiff on

   whose behalf the notice was sent owned or controlled the work, that the actions alleged to have


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   been taken by Bright House’s subscribers constituted infringement of the Record Company

   Plaintiff’s rights, and that the notice sender had a good faith belief that use of the material in the

   manner complained of was not authorized by the copyright owner, its agent, or the law.

          138.    Upon information and belief, the Record Company Plaintiffs, the RIAA, and

   MarkMonitor knew that their copyright infringement notices contained false allegations of

   infringement at the time the notices were sent, or deliberately avoided confirming a high

   probability that their copyright infringement notices contained false allegations of infringement

   prior to the notices being sent. For example, the Record Company Plaintiffs, the RIAA, and

   MarkMonitor knew or deliberately avoided confirming a high probability that the Record

   Company Plaintiffs did not own or control certain of the works identified in notices sent to Bright

   House before they were sent.

          139.    In the alternative, and at a minimum, the Record Company Plaintiffs, the RIAA,

   and MarkMonitor should have known that the copyright infringement notices sent to ISPs,

   including Bright House, contained false allegations of infringement prior to the notices being sent.

          140.    The Record Company Plaintiffs, the RIAA, and MarkMonitor knew the Record

   Company Plaintiffs did not own or control certain works or, alternatively, they did not have the

   permission to send infringement notices relating to certain works. The Record Company Plaintiffs,

   the RIAA, and MarkMonitor nevertheless sent, or authorized the sending of, notices to Bright

   House, despite this knowledge.

          141.    The Record Company Plaintiffs, the RIAA, and MarkMonitor knew or deliberately

   avoided confirming a high probability that the works identified in the notices were not infringed

   by Bright House subscribers before the notices were sent. The Record Company Plaintiffs, the




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   RIAA, and MarkMonitor nevertheless sent, or authorized the sending of, notices to Bright House,

   despite this knowledge.

          142.    In the alternative, and at a minimum, Plaintiffs, the RIAA, and MarkMonitor should

   have known that the works identified in the notices were not infringed by Bright House subscribers

   before the notices were sent.

          143.    The fact that the Record Company Plaintiffs, the RIAA, and/ MarkMonitor sent or

   authorized the sending of numerous infringement notices for works that they did not own or control

   evinces a lack of a good-faith belief that the statements in their notices were accurate.

          144.    The fact that the Record Company Plaintiffs, the RIAA, and MarkMonitor sent or

   authorized the sending of numerous infringement notices for acts by subscribers that were not

   infringing evinces a lack of a good-faith belief that the statements in their notices were accurate.

          145.    Because the Record Company Plaintiffs, the RIAA, and/or MarkMonitor lacked

   knowledge of the true owner of the copyright for the Dropped Works, they could not have formed

   a good faith belief that the use complained of in notices for those works had not been authorized

   by the copyright owner, its agent, or the law.

          146.    During the Claim Period, Bright House received notices from the RIAA, purporting

   to assert the rights of the Record Company Plaintiffs, but sent by MarkMonitor, that Bright House

   could not verify. Specifically, Bright House could not verify whether any of the Plaintiffs owned

   or controlled the work identified in the notice. Bright House also could not verify whether the

   sender of the notice was authorized to send it. Bright House also could not verify whether the

   activity that was alleged in the notice constituted copyright infringement.

          147.    During the Claim Period, Bright House relied on the statement in the notices that

   “the information in the notice is accurate,” that the senders were authorized by the copyright



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   owners to send notices concerning their works, and that the senders “have a good faith belief that

   this activity is not authorized by the copyright owner, its agent, or the law.”

          148.    In reliance on these representations, Bright House accepted the notices and

   processed them accordingly. This includes, but is not limited to, accepting each notice into its

   ECATS system, processing it, forwarding it to the referenced subscriber, and taking any further

   necessary action.

          149.    The steps Bright House took in response to receiving the inaccurate notices could

   result in the “removal or blocking” of the noticed material.

          150.    Bright House also incurred costs in implementing its ECATS, including when

   processing the inaccurate notices.

          151.    Bright House was also injured when it processed inaccurate notices, causing it to

   forward false accusations to its subscribers, to the extent this created tension with the impacted

   subscribers, negatively affected goodwill, and caused reputational harm to Bright House and its

   successor Charter.

          152.    Bright House was additionally injured through its investigation of the veracity of

   the notices for the Dropped Works, including whether Plaintiffs owned or controlled the works

   when the false notices were sent, including to the extent they relate to the Music Publisher

   Plaintiffs’ Dropped Works, or whether the Record Company Plaintiffs had the right to send notices

   to Bright House for the Dropped Works.

          153.    Bright House was further injured through its defense of the allegations concerning

   fallacious notices, including determining whether Plaintiffs own or control the works when the

   notices were sent or whether the Record Company Plaintiffs, the RIAA, and MarkMonitor had the




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   right to send notices to Bright House for the Dropped Works, including to the extent they relate to

   the Music Publisher Plaintiffs’ Dropped Works.

          154.    Bright House was further injured through having to defend against Plaintiffs’

   material representations in their notices, including having to conduct substantial investigation to

   determine whether the notices alleged actual direct copyright infringement by Bright House’s

   subscribers.

          155.    Bright House could not have discovered that the notices for the Dropped Works

   were inaccurate until February 15, 2020, after Plaintiffs dropped the works from this case and

   Bright House subsequently analyzed Plaintiffs’ notice data.

                                            CLAIM TWO

                               VIOLATION OF THE FLORIDA
                     DECEPTIVE AND UNFAIR TRADE PRACTICES ACT,
                        Fla. Stat. (2019) §§ 501.201 et seq. (“FDUTPA”)

          156.    Bright House repeats the allegations in Paragraphs 1 through 155 and incorporates

   them here.

          157.    Plaintiffs, the RIAA, and MarkMonitor engaged in unconscionable acts or

   practices, and unfair or deceptive acts or practices in the conduct of their trade and commerce, by

   knowingly or recklessly sending, and causing to be sent, false, deceptive, and misleading copyright

   infringement notices concerning works for which they did not own the rights and for which they

   lacked authorization to send such notices. Plaintiffs’, the RIAA’s, and MarkMonitor’s acts and

   practices offend established public policy, and are immoral, unethical, oppressive, unscrupulous

   or substantially injurious to consumers, and are misleading or likely to mislead consumers who

   were acting reasonably in the circumstances, to the consumers’ detriment.




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          158.    In the course of their business, the Record Company Plaintiffs, the RIAA, and

   MarkMonitor engaged in acts and practices that are unfair, unconscionable, deceptive, misleading

   or likely to mislead, false, or fraudulent trade practices, as described above.

          159.    In the course of Bright House’s business, it has been injured and suffered losses as

   a result of the Record Company Plaintiffs’, the RIAA’s, and MarkMonitor’s unfair and deceptive

   trade practices described above. Bright House has suffered actual damage as a result of those

   practices, including because Bright House has incurred costs in implementing its ECATS system

   and its customer service operations in receiving, processing, and forwarding the inaccurate notices.

          160.    Bright House was also subject to and aggrieved by Plaintiffs’, the RIAA’s, and

   MarkMonitor’s unfair and deceptive trade practices when Bright House processed those inaccurate

   notices and thereby forwarded false accusations to its subscribers, including to the extent this

   created tension with the impacted subscribers, negatively affected Bright House’s goodwill, and

   caused reputational harm to Bright House.

          161.    Bright House was also aggrieved and suffered loss in the course of its business due

   to the cost and burden of investigating the veracity of the inaccurate notices for the Dropped

   Works, including investigating whether Plaintiffs owned or controlled the works at the times the

   notices were sent; investigating the extent to which those works related to the Music Publisher

   Plaintiffs’ Dropped Works; and investigating whether Plaintiffs otherwise had the right or were

   authorized to send notices to Bright House for the Dropped Works.

          162.    Bright House was also aggrieved and suffered loss in the course of its business by

   being required to defend itself against Plaintiffs’ allegations concerning the Dropped Works and

   the inaccurate notices, including determining whether Plaintiffs owned or controlled the works at

   the relevant times, or whether the Record Company Plaintiffs, the RIAA, and/or MarkMonitor had



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   the right to send notices to Bright House for the Dropped Works; and determining the extent to

   which the sound recordings at issue in the notices related to the Music Publisher Plaintiffs’

   Dropped Works.

          163.    On information and belief, the Record Company Plaintiffs own or control a

   significant share of the recorded music distributed, sold, and publicly performed in the United

   States. Thus, their conduct in sending inaccurate notices to Bright House impacted actual and/or

   potential consumers of the Record Company Plaintiffs’ goods, services, and property.

          164.    The Record Company Plaintiffs’, the RIAA’s, and MarkMonitor’s actions in

   sending and causing to be sent inaccurate notices to ISPs like Bright House—which notices are in

   turn forwarded to members of the public—significantly impacted these members of the public,

   who were falsely led to believe that they have violated the law, and who are instructed to take

   actions based on inaccurate notices and otherwise coerced to comply with baseless threats based

   on the inaccurate notices. In addition, the false notices become part of the subscriber’s record,

   which Bright Houses uses to determine whether adverse action should be taken against

   subscribers—including whether subscribers’ Internet access should be terminated.

          165.    The Record Company Plaintiffs’, the RIAA’s, and MarkMonitor’s conduct

   aggrieved and caused loss to Bright House, and Bright House has been and continues to be

   irreparably harmed by those actions and has no adequate remedy at law.

          166.    Upon information and belief, the Record Company Plaintiffs, the RIAA, and

   MarkMonitor engaged in the conduct described above in bad faith, and their conduct was

   fraudulent, reckless, willful, knowing, and/or intentional.




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          167.     Plaintiffs’, the RIAA’s, and MarkMonitor’s conduct described above constitutes

   unfair or deceptive acts or practices in violation of the Florida Deceptive and Unfair Trade

   Practices Act (FDUTPA), including at least violations of Fla. Stat. § 501.204(1).

          168.     Bright House could not have discovered that the notices for the Dropped Works

   were inaccurate until February 15, 2020, after Plaintiffs dropped the works from this case and

   Bright House subsequently analyzed Plaintiffs’ notice data.

                                    DEMAND FOR JURY TRIAL

          Defendant hereby requests a trial by jury on all issues so triable.

                                       PRAYER FOR RELIEF

          WHEREFORE, Defendant Bright House Networks, LLC respectfully requests that this

   Court enter judgment as follows:

          a.       Judgment against Plaintiffs and in favor of Bright House on Plaintiffs’ claims set

   forth in the First Amended Complaint and dismissal of such claims with prejudice;

          b.       Judgment against Plaintiffs, the RIAA, and MarkMonitor and in favor of Bright

   House on each of Bright House’s claims as set forth above, i.e., that Plaintiffs have violated 17

   U.S.C. § 512(f) and Fla. Stat. (2019) §§ 501.201 et seq.;

          c.       For damages, in an amount up to the maximum provided by law, arising from

   Plaintiffs’, the RIAA’s, and MarkMonitor’s violation of 17 U.S.C. 512(f);

          d.       For damages, in an amount up to the maximum provided by law, arising from

   Plaintiffs’, the RIAA’s, and MarkMonitor’s violation of Fla. Stat. 501.201 et seq., including but

   not limited to Bright House’s actual sustained damages and prejudgment interest;

          e.       For Bright House’s attorneys’ fees and court costs, pursuant to Fla. Stat.

   § 501.211(2);



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          f.      For a declaratory judgment, pursuant to Fla. Stat. § 501.211(1), that Plaintiffs’, the

   RIAA’s, and MarkMonitor’s acts and practices described above violate the Florida Deceptive and

   Unfair Trade Practices Act;

          g.      For an injunction, pursuant to Fla. Stat. § 501.211(1), enjoining Plaintiffs, the

   RIAA, and MarkMonitor from submitting notices of claimed infringement to Bright House for

   works that they do not own rights to, including without limitation the Dropped Works;

          h.      For Bright House’s reasonable attorneys’ fees and costs incurred in connection with

   this action pursuant to 17 U.S.C. § 505 and/or § 512(f); and

          i.      Such other and further relief in Bright House’s favor as the Court shall deem just

   and proper.




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   Dated: August 25, 2020                         Respectfully submitted,


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                  Exhibit A
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                                                                                                      Exhibit A


NoticeID    Date and Time               SourceIPAddress ComplainantEntity          ComplainantEmail               ComplainantPhone ContentItemFileName                           ContentItemTitle

            2013-07-16 03:13:00.2700000                   Recording Industry                                                       Chris Brown - FAME Deluxe (2011)[MP3]-
22277350577 +00:00                      142.197.157.186   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    DshareX                                       DEUCES

            2013-03-28 01:12:45.4500000                   Recording Industry                                                       Katy Perry - Teenage Dream The Complete
22272962181 +00:00                      50.88.200.126     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Confection (2012)                             TEENAGE DREAM

            2013-08-01 20:54:36.0300000                   Recording Industry                                                       Esperanza Spalding - 2012 - Radio Music
22278101130 +00:00                      50.88.150.109     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Society                                       RADIO SONG

            2013-06-13 06:27:18.1500000                   Recording Industry                                                       Beez In The Trap Nicki Minaj (Feat. 2 Chainz) -
22275982518 +00:00                      142.197.190.210   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    by NoXoN.mp3                                    BEEZ IN THE TRAP

            2013-05-15 16:49:02.0200000                   Recording Industry                                                       keyshia cole - let it go ft lil' kim, missy
22274841192 +00:00                      174.134.117.158   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    elliott(2).mp3                                LET IT GO

            2013-05-18 22:04:50.7200000                   Recording Industry
22274943554 +00:00                      97.71.47.135      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Elliott Smith - Either or                     BETWEEN THE BARS

            2013-08-01 02:28:04.5500000                   Recording Industry                                                       Kid Cudi - Man on the Moon II - The Legend    MAN ON THE MOON, VOL. 2: THE
22278057196 +00:00                      71.46.117.228     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    of Mr. Rager (RapGodFathers.com)              LEGEND OF MR. RAGER

            2013-03-28 11:53:46.7000000                   Recording Industry
22272962242 +00:00                      50.90.92.117      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Tony Terry - When I'm With You.mp3            WITH YOU

            2013-05-15 08:01:22.7700000                   Recording Industry                                                       Drake - Thank Me Later [2010-MP3-
22274841168 +00:00                      50.88.36.70       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Cov][Bubanee]                                 THANK ME LATER

            2013-08-06 02:55:14.4300000                   Recording Industry                                                       Britney Spears - Femme Fatale [Deluxe
22278233977 +00:00                      50.90.13.97       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Edition] 2011 [CDRip] CBR320vtwin88cube       FEMME FATALE

            2013-04-15 18:34:38.8900000                   Recording Industry
22273672463 +00:00                      174.134.161.35    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    neon trees - everybody talks(2).mp3           EVERYBODY TALKS

            2013-07-31 02:43:50.2900000                   Recording Industry
22278057015 +00:00                      72.31.24.171      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    05 adele - crazy for you.mp3                  CRAZY FOR YOU

            2013-02-28 05:47:54.3300000                   Recording Industry
22271717723 +00:00                      174.134.208.238   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Kanye West - 808s and Heartbreaks             LOVE LOCKDOWN

            2013-05-14 22:20:50.3200000                   Recording Industry
22274841159 +00:00                      174.134.244.133   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Carrie Underwood - Blown Away                 BLOWN AWAY

            2013-07-31 21:26:08.4800000                   Recording Industry
22278057144 +00:00                      71.46.57.65       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    07-rihanna-man_down(2).mp3                    MAN DOWN

            2013-03-28 14:42:59.0500000                   Recording Industry                                                       2 Chainz - No Lie (feat. Drake) {2012-
22272962258 +00:00                      71.45.116.196     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Single}[NL]                                   NO LIE



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                                                                                                      Exhibit A


NoticeID    Date and Time               SourceIPAddress ComplainantEntity          ComplainantEmail               ComplainantPhone ContentItemFileName                            ContentItemTitle

            2013-03-28 17:07:30.2500000                   Recording Industry
22272962293 +00:00                      50.90.0.21        Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Thinkin Bout You                               THINKIN BOUT YOU

            2013-08-04 15:52:18.6800000                   Recording Industry
22278184239 +00:00                      75.114.181.253    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    m. ward                                        NEVER HAD NOBODY LIKE YOU

            2013-07-31 03:25:00.7800000                   Recording Industry
22278057026 +00:00                      174.134.105.100   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    01 justin bieber - baby ft ludacris448.mp3     BABY

            2013-06-16 03:08:11.5500000                   Recording Industry                                                       04 - carrie underwood - just a dream -
22276095339 +00:00                      174.134.87.26     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    copy.mp3                                       JUST A DREAM

            2013-05-02 20:09:40.1800000                   Recording Industry
22274359151 +00:00                      172.221.12.250    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    lil wayne ft big sean - my homies still.mp3    MY HOMIES STILL

            2013-08-01 02:04:08.8900000                   Recording Industry                                                       Drake - Take Care (Deluxe Edition) (Album)
22278057192 +00:00                      142.196.165.188   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    (2011)                                         TAKE CARE

            2013-05-26 19:57:57.8900000                   Recording Industry
22275246677 +00:00                      174.84.205.175    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Nonpoint-Nonpoint-2012-FNT                     LEFT FOR YOU

            2013-03-28 08:52:25.4400000                   Recording Industry                                                       Kid Cudi - Man on the Moon II - The Legend     MAN ON THE MOON, VOL. 2: THE
22272962224 +00:00                      50.90.30.147      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    of Mr. Rager (RapGodFathers.com)               LEGEND OF MR. RAGER

            2013-05-13 07:16:18.8500000                   Recording Industry
22274754108 +00:00                      97.71.61.6        Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    lil wayne - gonorrhea(2).mp3                   GONORRHEA

            2013-06-05 01:30:59.0500000                   Recording Industry
22275666866 +00:00                      142.196.237.185   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Ca$h Out - Cashin' Out                         CASHIN' OUT

            2013-07-31 04:57:18.1900000                   Recording Industry                                                       Drake - Take Care (Deluxe Version) [Official
22278057043 +00:00                      50.90.231.216     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Album][CD-Rip]                                 TAKE CARE

            2013-03-27 21:17:12.1900000                   Recording Industry                                                       Kanye West - Mercy {feat Big Sean,Pusha T, 2
22272962167 +00:00                      142.196.79.104    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Chainz} 2012-Single                          MERCY

            2013-03-14 05:41:42.7400000                   Recording Industry                                                       chris brown - dont wake me up (no tags) -
22272351526 +00:00                      50.90.2.125       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    hotnewhiphop.mp3                               DON'T WAKE ME UP

            2013-07-30 21:55:16.5400000                   Recording Industry                                                       01 chris_brown_-
22278056976 +00:00                      174.134.120.14    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    _forever_(real_cdq)124.mp3                     FOREVER

            2013-03-05 23:51:01.3900000                   Recording Industry                                                       Britney Spears - Femme Fatale [Deluxe
22272052585 +00:00                      50.90.13.97       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Edition] 2011 [CDRip] CBR320 vtwin88cube       FEMME FATALE

            2013-03-28 17:08:13.7700000                   Recording Industry
22272962294 +00:00                      50.88.52.49       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    jana kramer - why ya wanna.mp3                 WHY YA WANNA



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                                                                                                       Exhibit A


NoticeID    Date and Time               SourceIPAddress ComplainantEntity           ComplainantEmail               ComplainantPhone ContentItemFileName                             ContentItemTitle

            2013-08-01 23:07:45.7000000                   Recording Industry
22278101137 +00:00                      174.134.74.28     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     Maroon 5 - One More Night                       ONE MORE NIGHT

            2013-04-07 19:56:16.9100000                   Recording Industry
22273318917 +00:00                      50.90.116.230     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     Lil.Wayne-Music.God-(Bootleg)-2011-[NoFS] 6 FOOT 7 FOOT

            2013-05-15 09:40:35.0400000                   Recording Industry
22274841175 +00:00                      174.134.163.137   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     2pac - tupac - dear mama.mp3                    DEAR MAMA

            2013-05-02 02:00:37.7800000                   Recording Industry                                                        Modest Mouse - We Were Dead Before The
22274359034 +00:00                      142.196.129.239   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     Ship Even Sank (2007)                  DASHBOARD

            2013-03-22 02:06:48.5400000                   Recording Industry
22272706715 +00:00                      50.88.19.111      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     Outkast-ATLiens-1996                            ATLIENS

            2013-07-05 03:53:50.3300000                   Recording Industry
22276904044 +00:00                      50.90.147.134     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     Flo Rida Feat Sia - Wild Ones.mp3               WILD ONES

            2013-03-13 03:34:18.4000000                   Recording Industry
22272297819 +00:00                      75.112.150.226    Association of America Inc antipiracy2@riaa.com          1-800-838-9775   04-rascal_flatts-come_wake_me_up.mp3            COME WAKE ME UP

            2013-05-01 03:18:21.3600000                   Recording Industry                                                        2 Chainz - No Lie (Feat. Drake) [Single] [2012]-
22274320051 +00:00                      174.84.220.38     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     Sebastian[Ub3r].mp3                              NO LIE

            2013-07-08 15:41:59.6200000                   Recording Industry
22277089727 +00:00                      174.84.205.175    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     Nonpoint-Nonpoint-2012-FNT                      LEFT FOR YOU

            2013-07-31 18:20:55.3600000                   Recording Industry
22278057118 +00:00                      50.88.20.11       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     02-trey_songz-love_faces.mp3                    LOVE FACES

            2013-06-04 12:01:10.0200000                   Recording Industry
22275666788 +00:00                      97.69.174.219     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     Band Perry - 07 - Postcard from Paris(1).mp3 POSTCARD FROM PARIS

            2013-05-14 23:07:55.5800000                   Recording Industry                                                        Kelly Rowland - Motivation (feat. Lil Wayne)
22274841160 +00:00                      142.197.183.4     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     [2011-Single][MJN]                           MOTIVATION

            2013-07-09 10:20:30.3700000                   Recording Industry
22277089777 +00:00                      142.197.176.95    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     03 ed sheeran - the a team.mp3                  THE A TEAM

            2013-05-15 15:12:45.0300000                   Recording Industry                                                        Lloyd - Street
22274841188 +00:00                      71.45.18.92       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     Love.[2007].[www.newpct.com]                    GET IT SHAWTY

            2013-08-01 00:02:01.6600000                   Recording Industry
22278057170 +00:00                      50.89.134.224     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     miguel - adorn.mp3                              ADORN

            2013-08-02 05:37:19.4600000                   Recording Industry
22278101165 +00:00                      174.134.106.134   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124     maroon 5 - one more night(5).mp3                ONE MORE NIGHT



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            2013-03-20 04:11:28.4800000                   Recording Industry
22272614872 +00:00                      50.89.137.133     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    owl city and carly rae jepsen - good time.mp3 GOOD TIME

            2013-07-21 02:05:05.0800000                   Recording Industry
22277581716 +00:00                      174.134.172.156   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    The Lumineers- Ho Hey                          HO HEY

            2013-04-15 23:02:59.1100000                   Recording Industry
22273716505 +00:00                      174.134.225.16    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Eminem - Recovery 2010                         RECOVERY

            2013-07-02 08:50:40.5300000                   Recording Industry                                                       katy perry- wide awake [single] {mobicareg}
22276806459 +00:00                      50.89.251.145     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    {hkrg}.mp3                                  WIDE AWAKE

            2013-03-26 01:29:04.0200000                   Recording Industry                                                       Edward Sharpe &amp; The Magnetic Zeros -
22272843489 +00:00                      71.45.56.38       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Home.mp3                                 HOME

            2013-03-27 21:52:29.0900000                   Recording Industry                                                       Kanye West ft. Big Sean, Pusha T 2 Chainz -
22272962170 +00:00                      174.134.127.182   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Mercy .2012.{Mobicareg}.{HKRG}.mp3             MERCY

            2013-07-31 08:19:27.9500000                   Recording Industry                                                       Drake - Take Care (Deluxe Version) [Official
22278057085 +00:00                      71.45.3.165       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Album][CD-Rip]                                 TAKE CARE

            2013-07-31 22:02:23.0700000                   Recording Industry
22278057150 +00:00                      142.197.224.171   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    01 justin bieber - baby ft ludacris.mp3        BABY

            2013-08-01 03:16:14.7900000                   Recording Industry
22278057203 +00:00                      50.90.131.34      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Chris Brown - Don't Wake Me Up.mp3             DON'T WAKE ME UP

            2013-06-12 04:24:39.1700000                   Recording Industry                                                       [2008] Tha Carter III - Lil Wayne - 183mb @
22275948586 +00:00                      142.197.89.38     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    320kbs [only1joe]                              THA CARTER III

            2013-07-31 00:21:05.9400000                   Recording Industry
22278056998 +00:00                      50.88.239.151     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Nelly ft. Fergie- Party People .mp3            PARTY PEOPLE

            2013-07-31 21:11:47.6400000                   Recording Industry
22278057142 +00:00                      50.90.183.40      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Carrie Underwood                               JUST A DREAM

            2013-08-03 22:34:52.2900000                   Recording Industry
22278184162 +00:00                      50.89.176.97      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Maroon 5 - Moves Like Jagger.mp3               MOVES LIKE JAGGER

            2013-03-28 08:44:53.4600000                   Recording Industry
22272962222 +00:00                      50.90.203.155     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    2 Chainz - No Lie (Feat.Drake) (2012-Single)   NO LIE

            2013-07-31 11:19:47.8700000                   Recording Industry                                                       alicia keys - try sleeping with a broken heart
22278057071 +00:00                      142.196.240.122   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    bmf265.mp3                                     TRY SLEEPING WITH A BROKEN HEART

            2013-03-28 08:35:50.0200000                   Recording Industry                                                       In This Moment - Blood (2012)
22272962221 +00:00                      142.196.5.29      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    [WwW.ZoNaTorrent.CoM]                          BLOOD



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            2013-06-06 08:33:05.0500000                   Recording Industry
22275752611 +00:00                      97.71.16.244      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Elliott Smith - Either or                   BETWEEN THE BARS

            2013-08-01 04:53:19.2100000                   Recording Industry
22278057214 +00:00                      174.134.148.58    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Katy Perry - Wide Awake                     WIDE AWAKE

            2013-03-26 02:48:29.5200000                   Recording Industry                                                       lil wayne ft big sean - my homies still
22272843491 +00:00                      142.197.61.216    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    [umd].mp3                                   MY HOMIES STILL

            2016-08-10 10:10:31.5300000                   Recording Industry
22272962291 +00:00                      71.46.49.251      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Flo Rida - Wild Ones (feat. Sia)            WILD ONES

            2013-05-15 04:20:17.8800000                   Recording Industry                                                       Drake - Thank Me Later [2010-MP3-
22274841165 +00:00                      50.90.241.149     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Cov][Bubanee]                               THANK ME LATER

            2013-03-28 12:12:27.0000000                   Recording Industry                                                       timbaland ft pitbull &amp; david guetta -
22272962243 +00:00                      174.134.253.231   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    pass at me im1.mp3                          PASS AT ME

            2013-05-14 20:43:16.0400000                   Recording Industry
22274841157 +00:00                      50.90.134.141     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    lil wayne - got_money_feat _t-pain.mp3      GOT MONEY

            2013-05-08 02:36:26.9800000                   Recording Industry
22274569849 +00:00                      50.90.157.139     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    back to december' 'taylor swift.mp3         BACK TO DECEMBER

            2013-06-02 23:22:32.7100000                   Recording Industry
22275537628 +00:00                      71.46.121.217     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Jason Mraz - I Wont Give Up 2012            I WON'T GIVE UP

            2013-03-14 10:27:05.5900000                   Recording Industry
22272397163 +00:00                      50.90.16.246      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Adele - 19 (Deluxe Edition)                                                  19

            2013-04-15 23:07:20.9100000                   Recording Industry
22273716506 +00:00                      50.90.205.155     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Rihanna - We Found Love (feat. Calvin Harris) WE FOUND LOVE

            2013-04-08 03:10:23.6900000                   Recording Industry
22273388994 +00:00                      71.45.22.78       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Adele - 19 (Deluxe Edition)                                                  19

            2013-05-14 17:35:19.0900000                   Recording Industry
22274841156 +00:00                      71.45.97.103      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Miguel Feat Wiz Khalifa - Adorn (Remix).mp3 ADORN

            2013-04-08 03:11:21.5000000                   Recording Industry                                                                                                   LET ME LOVE YOU (UNTIL YOU LEARN TO
22273388995 +00:00                      142.197.119.4     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    03 ne-yo - let me love you.mp3              LOVE YOURSELF)

            2013-05-15 15:44:05.2200000                   Recording Industry
22274841189 +00:00                      174.134.136.58    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    09-blake_shelton-over(2).mp3                OVER

            2013-07-02 10:44:08.0000000                   Recording Industry                                                       eminem feat rihanna - love the way you
22276806466 +00:00                      50.90.230.133     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    lie.mp3                                     LOVE THE WAY YOU LIE



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            2013-08-01 08:40:43.7200000                   Recording Industry
22278101106 +00:00                      71.45.75.231      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    14-future-turn_on_the_lights.mp3               TURN ON THE LIGHTS

            2013-05-15 01:38:05.9900000                   Recording Industry
22274841164 +00:00                      97.71.33.35       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    eminem - lose yourself(2).mp3                  LOSE YOURSELF

            2013-05-15 10:22:58.1600000                   Recording Industry
22274841177 +00:00                      174.134.113.178   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    2 chainz ft drake - no lie(2).mp3              NO LIE

            2013-06-16 02:03:29.7100000                   Recording Industry
22276095326 +00:00                      50.89.224.88      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    keith urban - for you.mp3                      FOR YOU

            2013-05-15 01:13:05.6900000                   Recording Industry                                                       Chris Brown - F.A.M.E Deluxe [2011-MP3-
22274841163 +00:00                      174.134.165.39    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Cov][Bubanee]                                  F.A.M.E.

            2013-03-28 01:31:37.5000000                   Recording Industry                                                       Carlos Santana - Gold Greatest Hits 3 CD
22272962183 +00:00                      50.90.178.198     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    (2010) by Juledj77                             NO ONE TO DEPEND ON

            2013-06-05 17:45:30.6500000                   Recording Industry
22275752557 +00:00                      142.196.71.246    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Heart - The Essential Heart                    BARRACUDA
                                                                                                                                   kanye_west_feat
            2013-05-15 13:31:51.8500000                   Recording Industry                                                       _big_sean,_pusha_t_&amp;_2_chainz_-
22274841186 +00:00                      50.88.155.202     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    _mercy_(cdq).mp3                               MERCY

            2013-03-24 18:38:56.8400000                   Recording Industry
22272783266 +00:00                      174.134.78.20     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Ed Sheeran - + (Plus) [2011 Album]             THE A TEAM

            2013-03-17 10:43:22.1100000                   Recording Industry
22272478358 +00:00                      50.90.65.117      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    2 chainz ft drake - no lie [umd].mp3           NO LIE

            2013-08-04 20:06:20.3300000                   Recording Industry                                                       Maroon 5-Overexposed (Deluxe
22278184259 +00:00                      174.134.157.72    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Edition)(2012) 320Kbit(mp3) DMT                ONE MORE NIGHT

            2013-05-15 09:43:31.3900000                   Recording Industry
22274841176 +00:00                      142.196.251.91    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    2 chainz ft drake - no lie [umd].mp3           NO LIE

            2013-07-09 03:52:35.1000000                   Recording Industry                                                                                                      OKAY I BELIEVE YOU, BUT MY TOMMY
22277089769 +00:00                      142.197.30.47     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Brand_New_Deja_Entendu-2003-fnt                GUN DON'T

            2013-07-31 20:37:13.9300000                   Recording Industry                                                       2 Chainz Feat Drake - No Lie (Dirty)
22278057139 +00:00                      50.89.62.150      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    [CDQ].mp3                                      NO LIE

            2013-05-15 08:11:48.5800000                   Recording Industry
22274841170 +00:00                      174.134.115.34    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    2 Chainz - No Lie (Feat.Drake) (2012-Single)   NO LIE

            2013-08-04 05:13:11.5800000                   Recording Industry
22278184199 +00:00                      50.90.246.56      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    adele - chasing pavements.mp3                  CHASING PAVEMENTS



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            2013-07-31 14:26:01.0900000                   Recording Industry                                                       eminem feat lil wayne - no love -
22278057095 +00:00                      174.134.205.218   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    hotnewhiphop com.mp3                           NO LOVE

            2013-06-09 16:12:03.6800000                   Recording Industry
22275830032 +00:00                      50.90.224.182     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    14-future-turn_on_the_lights.mp3               TURN ON THE LIGHTS

            2013-06-13 19:02:38.0700000                   Recording Industry                                                       Kanye West feat. Rihanna - All Of The
22276030948 +00:00                      174.134.163.247   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Lights.mp3                                     ALL OF THE LIGHTS

            2013-08-05 18:59:57.9500000                   Recording Industry
22278233950 +00:00                      142.196.86.12     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    LMFAO - Party Rock Anthem.mp3                  PARTY ROCK ANTHEM

            2013-07-04 04:46:55.3000000                   Recording Industry                                                       Bad Meets Evil (Eminem) - Hell The Sequel
22276903929 +00:00                      50.90.30.132      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    CDRip 2011 [Bubanee]                           HELL: THE SEQUEL

            2013-04-03 20:32:30.3800000                   Recording Industry                                                       Wale - Bag of Money (feat. Rick Ross, Meek
22273244771 +00:00                      50.90.211.35      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Mill &amp; T-Pain)                             BAG OF MONEY

            2013-07-31 07:05:06.1100000                   Recording Industry
22278057077 +00:00                      142.197.120.175   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    eminem feat lil wayne - no love.mp3            NO LOVE

            2013-03-28 01:22:46.6600000                   Recording Industry                                                       Adele - Rolling In The Deep - Single - 2010
22272962182 +00:00                      50.88.182.131     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    (MP3)                                          ROLLING IN THE DEEP

            2013-03-26 10:04:01.5000000                   Recording Industry                                                       Kanye West ft. Big Sean, Pusha T 2 Chainz -
22272887760 +00:00                      174.134.127.182   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Mercy .2012.{Mobicareg}.{HKRG}.mp3             MERCY

            2013-08-01 05:18:13.3000000                   Recording Industry
22278057220 +00:00                      174.134.113.96    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    ellie goulding - lights(2)(2).mp3              LIGHTS

            2013-03-28 18:56:00.0500000                   Recording Industry                                                       Brad Paisley- This Is Country Music- [2011]-
22272962287 +00:00                      75.112.160.205    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Mp3ViLLe                                       THIS IS COUNTRY MUSIC

            2013-07-31 15:15:23.5600000                   Recording Industry
22278057102 +00:00                      71.46.117.98      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Carly Rae Jepsen - Call Me Maybe               CALL ME MAYBE

            2013-05-23 11:45:00.5500000                   Recording Industry                                                       good_music_(2_chainz,_big_sean,_kanye_we
22275168820 +00:00                      142.197.147.90    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    st,_pusha_t)_-_mercy_[cdq_-_dirty](2).mp3 MERCY

            2013-07-20 23:01:32.5000000                   Recording Industry                                                       [2008] Tha Carter III - Lil Wayne - 183mb @
22277581693 +00:00                      142.197.89.38     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    320kbs [only1joe]                              THA CARTER III

            2013-03-03 03:45:06.2000000                   Recording Industry                                                       ellie goulding - lights (itunes bonus
22271862881 +00:00                      174.134.188.217   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    track).mp3                                     LIGHTS

            2013-05-15 13:29:50.2000000                   Recording Industry
22274841185 +00:00                      50.89.49.15       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    phillip phillips - home.mp3                    HOME



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            2013-08-01 01:50:30.8200000                   Recording Industry
22278057189 +00:00                      50.89.140.125     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    back to december' 'taylor swift.mp3            BACK TO DECEMBER

            2013-07-31 22:12:10.7600000                   Recording Industry
22278057152 +00:00                      97.71.45.154      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    kelly clarkson - dark side.mp3                 DARK SIDE

            2013-07-30 18:22:27.0800000                   Recording Industry                                                       Nicki Minaj - Beez In The Trap {2 Chainz}
22278056955 +00:00                      50.88.234.43      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    {2012-Single}                                  BEEZ IN THE TRAP

            2013-05-06 23:05:45.7300000                   Recording Industry
22274485338 +00:00                      75.112.161.130    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    11-nicki_minaj-pound_the_alarm.mp3             POUND THE ALARM

            2013-05-15 07:56:48.5900000                   Recording Industry                                                       j cole ft missy elliott - nobody's perfect
22274841167 +00:00                      142.197.147.90    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    im1.mp3                                        NOBODY'S PERFECT

            2013-06-17 15:11:20.8200000                   Recording Industry                                                       Wyclef Jean ft. Akon, Lil&amp;#39; Wayne
22276181444 +00:00                      71.45.100.202     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    &amp; Niia - Sweetest Girl (Dollar Bill).mp3   SWEETEST GIRL

            2013-05-20 23:53:34.0200000                   Recording Industry                                                       Usher - Looking 4 Myself (Deluxe Version)
22275024045 +00:00                      174.134.140.40    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    (2012) 320KB TBS                               CLIMAX

            2013-03-28 04:50:15.3300000                   Recording Industry
22272962205 +00:00                      75.114.183.231    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    16-kenny chesney - come over(6).mp3            COME OVER

            2013-03-15 06:51:42.5100000                   Recording Industry
22272397364 +00:00                      174.134.115.244   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Carrie Underwood - Blown Away                  BLOWN AWAY

            2013-05-15 16:22:44.8200000                   Recording Industry
22274841190 +00:00                      50.89.180.183     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Jason Mraz - I Wont Give Up 2012               I WON'T GIVE UP

            2013-03-28 14:27:46.9200000                   Recording Industry
22272962255 +00:00                      142.197.103.14    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Future - Pluto [2012] CR                       MAGIC

            2013-07-31 07:52:27.3800000                   Recording Industry                                                       will i am ft nicki minaj - check it out
22278057081 +00:00                      50.88.150.42      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    im115.mp3                                      CHECK IT OUT

            2013-08-02 00:35:02.8300000                   Recording Industry
22278101148 +00:00                      50.88.66.3        Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Pink - Stupid Girls.mp3                        STUPID GIRLS

            2013-05-15 08:34:08.2500000                   Recording Industry                                                       David Guetta - One Love (Special Edition)
22274841173 +00:00                      174.134.236.78    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    [2009]                                         ONE LOVE

            2013-03-30 15:47:34.7100000                   Recording Industry
22273039016 +00:00                      71.45.59.76       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Maroon 5 - One More Night.mp3                  ONE MORE NIGHT

            2013-05-15 09:40:06.5400000                   Recording Industry                                                       Chris Brown - F.A.M.E Deluxe [2011-MP3-
22274841174 +00:00                      50.89.8.178       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Cov][Bubanee]                                  F.A.M.E.



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            2013-06-17 09:02:20.6200000                   Recording Industry                                                       Drake - Take Care (Deluxe Version) [Official
22276181432 +00:00                      50.89.244.14      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Album][CD-Rip]                                  TAKE CARE

            2013-03-03 04:02:08.5800000                   Recording Industry                                                       Cee Lo Green - The Lady Killer (Deluxe) -2010-
22271862884 +00:00                      97.71.45.81       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    [SW]                                           THE LADY KILLER

            2013-08-01 20:40:30.0500000                   Recording Industry                                                       lil wayne feat eminem - drop the world-
22278101129 +00:00                      50.90.253.137     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    mixfiend.mp3                                    DROP THE WORLD

            2013-08-04 10:36:07.7100000                   Recording Industry                                                       Kanye West ft. Big Sean, Pusha T 2 Chainz -
22278184220 +00:00                      174.134.188.60    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Mercy.2012.{Mobicareg}.{HKRG}.mp3               MERCY

            2013-08-01 00:18:20.3000000                   Recording Industry                                                       11 - lil wayne - knockout (feat nicki minaj)-
22278057175 +00:00                      142.197.158.205   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    rgf.mp3                                         KNOCKOUT

            2013-06-01 21:38:42.4400000                   Recording Industry
22275537429 +00:00                      71.45.16.151      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    miguel - adorn im1.mp3                          ADORN

            2013-07-31 13:10:25.7400000                   Recording Industry
22278057088 +00:00                      50.90.203.155     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    2 Chainz - No Lie (Feat.Drake) (2012-Single)    NO LIE

            2013-08-05 17:40:46.3400000                   Recording Industry
22278233947 +00:00                      97.71.21.40       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Jason Mraz - I Won't Give Up.mp3                I WON'T GIVE UP

            2013-03-24 18:09:19.1500000                   Recording Industry                                                       Somebody I Used To Know (Radio Edit) [feat.
22272783263 +00:00                      97.71.21.69       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Kimbra] - Single                            SOMEBODY THAT I USED TO KNOW

            2013-05-15 11:36:27.3500000                   Recording Industry                                                       Justin Bieber - As Long As You Love Me (Feat.
22274841179 +00:00                      71.45.75.81       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Big Sean) [Single] [2012]- Sebastian[Ub3r]    AS LONG AS YOU LOVE ME

            2013-05-15 08:14:24.2900000                   Recording Industry
22274841171 +00:00                      142.197.238.39    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Rihanna - Where Have You Been.mp3               WHERE HAVE YOU BEEN

            2013-07-07 20:49:00.0300000                   Recording Industry
22276981722 +00:00                      71.46.115.190     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Weird Al Yankovic                               ANOTHER ONE RIDES THE BUS

            2013-07-31 11:31:16.8700000                   Recording Industry                                                       wyclef_jean_ft_akon_lil_wayne_nia-
22278057073 +00:00                      142.197.176.95    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    sweetest_girl.mp3                               SWEETEST GIRL

            2013-05-15 14:14:25.7800000                   Recording Industry
22274841187 +00:00                      50.88.182.232     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Eminem- I'm Not Afraid.mp3                      NOT AFRAID

            2013-05-15 07:50:13.8500000                   Recording Industry                                                       Ace.Hood-Blood.Sweat.And.Tears-
22274841166 +00:00                      142.197.150.134   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    (Deluxe.Edition)-2011-[NoFS]                    BLOOD, SWEAT AND TEARS

            2013-05-26 06:18:24.3400000                   Recording Industry                                                       Rick Ross - Bag Of Money (Dirty) Ft. Wale,
22275246591 +00:00                      142.197.128.163   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Meek Mill &amp; T-Pain - by NoXoN.mp3           BAG OF MONEY



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            2013-05-14 03:24:07.4800000                   Recording Industry                                                       Kanye West feat. Rihanna - All Of The
22274803695 +00:00                      50.88.53.183      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Lights.mp3                                      ALL OF THE LIGHTS

            2013-07-31 19:12:23.7000000                   Recording Industry                                                       Nicki Minaj - Beez In The Trap {2 Chainz}
22278057130 +00:00                      50.88.234.43      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    {2012-Single}                                   BEEZ IN THE TRAP

            2013-02-27 00:32:30.6800000                   Recording Industry
22271656995 +00:00                      142.196.227.14    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Drake Take Care (Deluxe Version)                TAKE CARE

            2013-08-04 23:10:09.7000000                   Recording Industry
22278184275 +00:00                      142.197.26.138    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    ed sheeran - the a team(2).mp3                  THE A TEAM

            2013-06-05 17:05:39.4500000                   Recording Industry
22275715005 +00:00                      50.88.175.221     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Suicide Silence -2011- The Black Crown          WITNESS THE ADDICTION

            2013-03-18 02:01:20.2100000                   Recording Industry                                                       Beyonce - I Am...Sasha Fierce (Deluxe
22272486580 +00:00                      75.114.202.88     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Edition) - (2008)                               I AM... SASHA FIERCE

            2013-06-20 00:56:42.9600000                   Recording Industry
22276327978 +00:00                      71.45.45.20       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    adele - chasing pavements.mp3                   CHASING PAVEMENTS

            2013-07-31 14:09:33.3500000                   Recording Industry
22278057092 +00:00                      142.196.170.57    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Mumford and Sons Sigh No More-2009              SIGH NO MORE

            2013-04-03 20:28:02.4600000                   Recording Industry                                                       Wiz Khalifa - O.N.I.F.C. (Deluxe Edition)
22273244770 +00:00                      50.90.161.15      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    [ChattChitto RG]                                WORK HARD, PLAY HARD

            2013-06-01 20:27:39.3200000                   Recording Industry                                                       Somebody I Used To Know (Radio Edit) [feat.
22275537425 +00:00                      97.69.163.114     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Kimbra] - Single                            SOMEBODY THAT I USED TO KNOW

            2013-04-07 20:34:55.0800000                   Recording Industry                                                       Amy Winehouse - Back To Black [Deluxe]
22273318920 +00:00                      174.134.158.2     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    [2006 - MP3 - 320 kbps] [vigoni]                BACK TO BLACK

            2013-08-03 21:28:21.2600000                   Recording Industry                                                       Lana Del Rey ++ Born To Die (Special Edition)
22278184154 +00:00                      50.89.30.152      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    2012                                          BORN TO DIE

            2013-05-05 14:39:04.3300000                   Recording Industry                                                       pitbull ft ne-yo, afrojack &amp; nayer - give
22274485099 +00:00                      174.134.117.184   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    me everything (tonight) im1.mp3                 GIVE ME EVERYTHING

            2013-03-06 00:40:29.3800000                   Recording Industry
22272052591 +00:00                      97.71.20.132      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Nelly - Just A Dream.mp3                        JUST A DREAM

            2013-05-15 08:28:33.3200000                   Recording Industry                                                       Kanye West - My Beautiful Dark Twisted
22274841172 +00:00                      174.134.127.184   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Fantasy (Explicit) [Bubanee]                    MY BEAUTIFUL DARK TWISTED FANTASY

            2013-08-03 20:23:46.1600000                   Recording Industry                                                       Rihanna - Talk That Talk (Deluxe) (Limited
22278184151 +00:00                      75.114.215.15     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Edition CD-Rip + Cov)                           TALK THAT TALK



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            2013-08-01 09:01:40.2500000                   Recording Industry                                                       Kanye West ft. Big Sean, Pusha T 2 Chainz -
22278101108 +00:00                      71.45.152.178     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Mercy.2012.{Mobicareg}.{HKRG}.mp3              MERCY

            2013-07-31 15:59:47.3200000                   Recording Industry                                                       drake feat lil wayne- miss me (dirty)
22278057110 +00:00                      97.68.42.18       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    (masterized) (elcorillord com).mp3             MISS ME

            2013-08-04 01:51:24.9000000                   Recording Industry                                                       Matchbox Twenty - She's So Mean {2012-
22278184173 +00:00                      142.196.33.7      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Single}[NL]                                    SHE'S SO MEAN

            2013-07-30 14:24:39.9700000                   Recording Industry
22278056938 +00:00                      50.89.142.133     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    keith urban - for you.mp3                      FOR YOU

            2013-08-05 04:45:18.1800000                   Recording Industry
22278184308 +00:00                      174.134.79.74     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    zac brown band - the wind.mp3                  THE WIND

            2013-08-01 13:58:53.7600000                   Recording Industry
22278101114 +00:00                      142.196.239.156   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    All That Remains                               FOREVER IN YOUR HANDS

            2013-07-31 15:53:21.3900000                   Recording Industry
22278057109 +00:00                      50.88.144.120     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    miguel - adorn (remix).mp3                     ADORN

            2013-08-01 00:51:01.9600000                   Recording Industry                                                       kanye west - mercy ft big sean, pusha t
22278057178 +00:00                      174.134.170.84    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    &amp; 2 chainz (explicit).mp3                  MERCY

            2013-08-05 03:39:41.2400000                   Recording Industry                                                       Starship - We Built This City [The Very Best
22278184301 +00:00                      142.197.101.151   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Of Starship] (1997) 320vtwin88cube             WE BUILT THIS CITY

            2013-08-05 04:18:03.4500000                   Recording Industry
22278184303 +00:00                      97.71.90.46       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    ssbc                                           SLAVES TO SUBSTANCE

            2013-05-15 13:11:34.9900000                   Recording Industry                                                       j cole ft missy elliott - nobody's perfect
22274841184 +00:00                      142.196.132.188   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    im1(2).mp3                                     NOBODY'S PERFECT

            2013-07-30 18:55:32.9300000                   Recording Industry                                                       Young Jeezy - The
22278056958 +00:00                      71.45.105.156     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Recession[2008][MP3@320kbps]-antecho           THE RECESSION

            2013-07-31 22:24:45.8600000                   Recording Industry
22278057157 +00:00                      142.197.77.190    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    14-future-turn_on_the_lights.mp3               TURN ON THE LIGHTS

            2013-07-31 14:34:33.7300000                   Recording Industry
22278057097 +00:00                      50.90.183.155     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    drake &amp; lil wayne- miss me (dirty).mp3     MISS ME

            2013-03-28 14:33:27.7700000                   Recording Industry
22272962257 +00:00                      174.134.9.21      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Jordin Sparks-Jordin Sparks(Retail)            ONE STEP AT A TIME

            2013-05-12 13:36:27.3000000                   Recording Industry
22274679727 +00:00                      50.90.132.160     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    psychosocial - slipknot.mp3                    PSYCHOSOCIAL



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            2013-05-01 03:03:27.0200000                   Recording Industry                                                       Foo Fighters - Wasting Light (2CD Deluxe
22274320046 +00:00                      174.134.43.142    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Edition) 2011 (320 kbps)                        BRIDGE BURNING

            2013-06-20 19:10:13.2300000                   Recording Industry                                                       Akon ft. Snoop Dogg - I Wanna Love
22276328028 +00:00                      142.197.174.21    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    You.MP3                                         I WANNA FUCK YOU

            2013-05-15 12:16:20.2900000                   Recording Industry
22274841181 +00:00                      142.197.128.181   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    110-taylor_swift-better_than_revenge.mp3        BETTER THAN REVENGE

            2013-05-12 13:32:03.2400000                   Recording Industry
22274679726 +00:00                      71.45.81.56       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    14-future-turn_on_the_lights.mp3                TURN ON THE LIGHTS

            2013-03-14 06:05:52.3800000                   Recording Industry                                                       Jay-Z and Kanye West - Watch the Throne
22272351528 +00:00                      174.84.205.175    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    (RapGodFathers.info)                            GOTTA HAVE IT

            2013-07-07 11:02:28.1800000                   Recording Industry                                                       Justin Bieber - As Long As You Love Me (Feat.
22276981651 +00:00                      71.45.75.81       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Big Sean) [Single] [2012]- Sebastian[Ub3r]    AS LONG AS YOU LOVE ME

            2013-06-13 22:19:09.3500000                   Recording Industry
22276030959 +00:00                      50.90.131.168     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Brandi Carlile - The Story                      THE STORY

            2013-05-15 13:02:38.5300000                   Recording Industry                                                       Rihanna - Where Have You Been (The Calvin
22274841183 +00:00                      142.197.117.56    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Harris Extended Remix)                    WHERE HAVE YOU BEEN

            2013-03-20 03:29:39.5300000                   Recording Industry
22272614864 +00:00                      75.114.215.185    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Carrie Underwood - Blown Away.mp3               BLOWN AWAY

            2013-03-28 05:07:26.8200000                   Recording Industry
22272962206 +00:00                      174.134.163.137   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    2pac - tupac - dear mama.mp3                    DEAR MAMA

            2013-06-25 14:33:20.1300000                   Recording Industry                                                       Somebody That I Used To Know - Gotye feat.
22276505030 +00:00                      50.89.92.145      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Kimbra.mp3                                 SOMEBODY THAT I USED TO KNOW

            2013-05-15 01:00:56.7200000                   Recording Industry                                                       Britney Spears - Femme Fatale [Deluxe
22274841162 +00:00                      50.90.182.160     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Edition] 2011 [CDRip] CBR320 vtwin88cube        FEMME FATALE

            2013-05-05 23:47:07.4800000                   Recording Industry                                                       Somebody That I Used To Know - Gotye feat.
22274485174 +00:00                      50.90.87.151      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Kimbra.mp3                                 SOMEBODY THAT I USED TO KNOW

            2013-06-05 22:25:07.8200000                   Recording Industry
22275715026 +00:00                      142.197.30.192    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Amy Winehouse - 2007 - Back To Black            BACK TO BLACK

            2013-05-09 18:47:29.0000000                   Recording Industry                                                       11 - lil wayne - knockout (feat nicki minaj)-
22274606315 +00:00                      174.134.77.166    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    rgf.mp3                                         KNOCKOUT

            2013-05-14 08:47:30.7300000                   Recording Industry
22274803716 +00:00                      142.196.87.120    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    akon - right now (na na na) ;@.mp3              RIGHT NOW (NA NA NA)



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            2013-05-21 17:44:17.9900000                   Recording Industry                                                       Papa Roach - Greatest Hits (by R.G. DHT-
22275073263 +00:00                      142.197.216.131   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Music)                                       FOREVER

            2013-03-27 20:12:16.2300000                   Recording Industry                                                       Britney Spears - Hold It Against Me [2011-
22272962163 +00:00                      97.71.119.112     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Single][MJN]                                 HOLD IT AGAINST ME

            2013-05-15 12:50:02.2200000                   Recording Industry
22274841182 +00:00                      142.197.230.219   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Sean Kingston - Take You There.mp3           TAKE YOU THERE

            2013-05-15 00:01:56.2600000                   Recording Industry                                                       David Guetta - One Love (Special Edition)
22274841161 +00:00                      75.114.224.139    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    [2009]                                       ONE LOVE

            2013-05-14 21:22:10.6200000                   Recording Industry                                                       nicki_minaj_-_beez_in_the_trap_(feat
22274841158 +00:00                      50.88.57.46       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    _2_chainz).mp3                               BEEZ IN THE TRAP

            2013-05-15 08:07:56.2800000                   Recording Industry
22274841169 +00:00                      71.46.112.173     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    2 chainz ft drake - no lie [umd](2).mp3      NO LIE

            2013-07-31 08:50:02.6900000                   Recording Industry                                                       Mumford and Sons - Babel [Deluxe Edition]
22278057056 +00:00                      71.46.104.222     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    2012                                         LOVERS' EYES

            2013-06-18 21:45:36.6800000                   Recording Industry
22276221850 +00:00                      50.90.232.214     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    chris brown - don't wake me up im1.mp3       DON'T WAKE ME UP

            2013-03-17 10:43:01.1100000                   Recording Industry
22272478357 +00:00                      97.69.202.144     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Maroon 5 - Payphone ft. Wiz Khalifa.mp3      PAYPHONE

            2013-05-21 08:20:16.8500000                   Recording Industry
22275073226 +00:00                      50.90.74.201      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Chris Brown - Dont Wake Me Up.mp3            DON'T WAKE ME UP

            2013-06-23 11:37:47.4500000                   Recording Industry                                                       2 Chainz - No Lie (Feat. Drake) [Single] [2012]-
22276405751 +00:00                      50.88.255.252     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Sebastian[Ub3r].mp3                              NO LIE
                                                                                                                                   don omar ft lucenzo - danza kuduro (original
            2013-07-31 03:30:50.6200000                   Recording Industry                                                       &amp; comprada itunes)(www
22278057031 +00:00                      174.134.135.242   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    fullcallecom).mp3                                DANZA KUDURO
                                                                                                                                   Waka_Flocka_Flame_-
            2013-05-15 11:11:18.2400000                   Recording Industry                                                       _No_Hands_(feat._Roscoe_Dash_&amp;_Wa
22274841178 +00:00                      174.134.101.39    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    le)_-_HotNewHipHop.com.mp3                       NO HANDS

            2013-07-31 22:14:21.4200000                   Recording Industry                                                       lil wayne feat eminem - drop the world-
22278057154 +00:00                      142.196.225.31    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    mixfiend(9).mp3                              DROP THE WORLD

            2013-05-13 07:56:25.8700000                   Recording Industry                                                       carrie underwood - some hearts - before he
22274754110 +00:00                      97.71.33.35       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    cheats.mp3                                   BEFORE HE CHEATS

            2013-05-18 21:01:29.1500000                   Recording Industry
22274943547 +00:00                      50.90.6.200       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Incubus- Make Yourself                       DRIVE



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NoticeID    Date and Time               SourceIPAddress ComplainantEntity          ComplainantEmail               ComplainantPhone ContentItemFileName                             ContentItemTitle

            2013-03-22 02:28:38.7900000                   Recording Industry                                                       Timbaland - Shock Value II [2009-MP3-
22272706718 +00:00                      50.89.212.89      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Cov][Bubanee]                                   SHOCK VALUE

            2013-06-12 11:49:00.7600000                   Recording Industry                                                       Kanye West - Mercy (feat. Big Sean, Pusha T,
22275982454 +00:00                      142.197.158.18    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    2 Chainz) {2012-Single}[NL]                  MERCY

            2013-05-15 16:56:23.5900000                   Recording Industry
22274841193 +00:00                      50.88.113.0       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    carrie underwood - blown away.mp3               BLOWN AWAY

            2013-07-31 00:27:19.7600000                   Recording Industry
22278056999 +00:00                      142.197.149.248   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    ed sheeran - the a team(2).mp3                  THE A TEAM
                                                                                                                                   Kid Cudi - Man on the Moon II - The Legend
            2013-03-27 21:43:32.6400000                   Recording Industry                                                       of Mr. Rager [2010-320kbps-                     MAN ON THE MOON, VOL. 2: THE
22272962169 +00:00                      174.134.98.190    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Album][plead_5th]                               LEGEND OF MR. RAGER

            2013-07-31 18:30:00.4300000                   Recording Industry                                                       tyga ft wale, fabolous, young jeezy, meek mill
22278057122 +00:00                      71.45.19.117      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    &amp; t i - rack city (remix)im1.mp3           RACK CITY

            2013-08-01 23:14:15.9700000                   Recording Industry
22278101138 +00:00                      142.196.25.128    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Attila - Rage (2010)                            RAGE

            2013-07-31 01:16:55.6600000                   Recording Industry
22278057002 +00:00                      174.134.122.1     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Drake-Thank.Me.Later-(Retail)-2010-[NoFS]       THANK ME LATER

            2013-06-12 03:57:25.3800000                   Recording Industry
22275948576 +00:00                      97.69.214.68      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Drake - The Motto (feat. Lil Wayne)             THE MOTTO

            2013-05-15 16:39:30.0900000                   Recording Industry                                                       Chris Brown - F.A.M.E Deluxe [2011-MP3-
22274841191 +00:00                      50.90.85.107      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Cov][Bubanee]                                   F.A.M.E.

            2013-06-23 21:55:34.6500000                   Recording Industry                                                       Drake - Take Care (Deluxe Edition) (Album)
22276405792 +00:00                      142.196.165.188   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    (2011)                                          TAKE CARE

            2013-05-21 00:54:20.5100000                   Recording Industry                                                       chris brown ft busta rhymes &amp; lil wayne -
22275024048 +00:00                      174.84.238.42     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    look at me now im1.mp3                        LOOK AT ME

            2013-03-28 08:18:23.2500000                   Recording Industry                                                       gym class heroes ft ryan tedder - the fighter
22272962219 +00:00                      50.89.8.168       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    im1.mp3                                         THE FIGHTER

            2013-08-05 02:25:22.9800000                   Recording Industry                                                       nicki_minaj_-_beez_in_the_trap_(feat
22278184294 +00:00                      174.134.104.89    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    _2_chainz)(2)(3).mp3                            BEEZ IN THE TRAP

            2013-03-28 17:06:14.9000000                   Recording Industry
22272962292 +00:00                      50.90.152.191     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    (kissed you) goodnight - gloriana.mp3           (KISSED YOU) GOOD NIGHT

            2013-05-15 12:07:19.9800000                   Recording Industry
22274841180 +00:00                      75.114.181.105    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Usher - Looking 4 Myself (2012)                 CLIMAX



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            2013-06-19 01:36:42.7900000                   Recording Industry
22276221880 +00:00                      50.90.203.155     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    2 Chainz - No Lie (Feat.Drake) (2012-Single)   NO LIE

            2013-02-27 00:54:24.1500000                   Recording Industry
22271657007 +00:00                      97.71.58.198      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    wiz khalifa - work hard play hard.mp3          WORK HARD, PLAY HARD

            2013-03-30 15:40:13.9500000                   Recording Industry                                                       Kanye West ft. Big Sean, Pusha T 2 Chainz -
22273039013 +00:00                      50.90.40.87       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Mercy .2012.{Mobicareg}.{HKRG}.mp3             MERCY

            2013-04-30 20:37:54.5700000                   Recording Industry
22274279071 +00:00                      142.196.22.113    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Jason Aldean - Tattoos On This Town.mp3        TATTOOS ON THIS TOWN

            2013-08-01 14:40:39.1600000                   Recording Industry                                                       Bad Meets Evil (Eminem) - Hell The Sequel
22278101116 +00:00                      97.71.92.239      Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    CDRip 2011 [Bubanee]                           HELL: THE SEQUEL

            2013-05-08 06:48:19.2700000                   Recording Industry                                                       Keyshia Cole - Just Like You - 14 - Work It
22274569857 +00:00                      71.45.142.173     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Out.mp3                                        WORK IT OUT

            2013-08-01 22:26:02.0800000                   Recording Industry
22278101135 +00:00                      142.197.150.88    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    miguel - adorn.mp3                             ADORN

            2013-03-28 08:45:01.3500000                   Recording Industry
22272962223 +00:00                      174.134.152.42    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Somebody That I Used To Know.mp3               SOMEBODY THAT I USED TO KNOW

            2013-05-23 11:54:41.1800000                   Recording Industry
22275168822 +00:00                      142.196.62.171    Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    Keane - Somewhere Only We Know - EP            SOMEWHERE ONLY WE KNOW

            2013-04-15 18:06:47.7900000                   Recording Industry                                                       Bad Meets Evil (Eminem) - Hell The Sequel
22273672462 +00:00                      50.89.169.227     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    CDRip 2011 [Bubanee]                           HELL: THE SEQUEL
                                                                                                                                   Kanye.West-
            2013-03-28 16:36:55.6700000                   Recording Industry                                                       My.Beautiful.Dark.Twisted.Fantasy-(Retail)-
22272962289 +00:00                      97.71.43.12       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    2010-[NoFS]                                    MY BEAUTIFUL DARK TWISTED FANTASY

            2013-07-31 00:10:45.9900000                   Recording Industry                                                       Fun. - Some Nights(2012)(MP3@320Kbps)-
22278056994 +00:00                      72.31.16.29       Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    TBS                                            FUN.

            2013-08-06 02:14:06.8600000                   Recording Industry
22278233974 +00:00                      142.196.13.59     Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    neon trees - everybody talks(2).mp3            EVERYBODY TALKS
                                                                                                                                   DJ Khaled - Take It to the Head (feat. Chris
            2013-07-31 16:26:31.5300000                   Recording Industry                                                       Brown, Rick Ross, Nicki Minaj &amp;
22278057113 +00:00                      142.197.156.103   Association of America Inc riaa.antipiracy@dtecnet.com 1-888-868-2124    LilWayne)                                      TAKE IT TO THE HEAD




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